&lt;div&gt;&lt;div&gt;&lt;div&gt;&lt;div id="pdf-container" style="width: 782px"&gt;
&lt;div id="pf1" data-page-no="1"&gt;
&lt;div&gt;
&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;SUMMARY &lt;/div&gt;
&lt;div&gt;October 10, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;2024COA110 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;No. 22CA0534, &lt;span&gt;People v. Ramcharan&lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;span&gt;â&lt;/span&gt; Crimes &lt;span&gt;â&lt;/span&gt; Unlawful &lt;/div&gt;
&lt;div&gt;Sexual Behavior &lt;span&gt;â&lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;span&gt;Victimâs and Witnessâs Prior History â&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Evidence of History of False Reporting &lt;span&gt;â&lt;/span&gt; Offer of Proof of &lt;/div&gt;
&lt;div&gt;Relevancy and Materiality&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Under Coloradoâs rape shield statute, a party who seeks to &lt;/div&gt;
&lt;div&gt;introduce evidence of a victimâs âhistory of false reporting&lt;span&gt;&lt;/span&gt; of sexual &lt;/div&gt;
&lt;div&gt;assaultsâ must file a written motion setting forth âan offer of p&lt;span&gt;&lt;/span&gt;roof &lt;/div&gt;
&lt;div&gt;of the relevancy and materialityâ of the evidence.  Â§ 18&lt;span&gt;-3-407(2), &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;C.R.S. 2023.  A division of the court of appeals considers the &lt;/div&gt;
&lt;div&gt;sufficiency of an offer of proof consisting of a summary of &lt;/div&gt;
&lt;div&gt;statements of witnesses, with whom defense counsel apparently &lt;/div&gt;
&lt;div&gt;never spoke, that lacks any explanation of whether the statements &lt;/div&gt;
&lt;div&gt;are admissible.  The division holds that such an offer of pr&lt;span&gt;&lt;/span&gt;oof is &lt;/div&gt;
&lt;div&gt;insufficient because the proponent did not establish that &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;witnessesâ statements were admissible.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;The summaries of the Colorado Court of Appeals published opinions &lt;/div&gt;
&lt;div&gt;constitute no part of the opinion of the division but have been prepared by &lt;/div&gt;
&lt;div&gt;the division for the convenience of the reader.  The summaries may not be &lt;/div&gt;
&lt;div&gt;cited or &lt;span&gt;relied upon as they are not the official language of the division.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Any discrepancy between the language in the summary and in the opinion &lt;/div&gt;
&lt;div&gt;should be resolved in favor of the language in the opinion. &lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf2" data-page-no="2"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMI/Rmr/MMIRmrLXztDTaQE4J%2BTuAgumZr5OM5qTtid06pbTlMYNg%3D?AWSAccessKeyId=ASIA5PHC3MTP7EEZUOS4&amp;amp;Expires=1728846159&amp;amp;Signature=WdGEyN4Z%2Fj4fQJesPEgdFBoUYAQ%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEGoaCXVzLWVhc3QtMSJHMEUCID7haXu9sHu0TB49S%2FFhwHLYV3m8xpf%2FjJejPdfVdO5fAiEAqOu%2FpincZ2YjBmNAyls3YqAnsZR5ByDsiSBMvWnnaywqugUIwv%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDPvG%2BcZlquvUPw3FwSqOBTdoamMA9H3sDWp0HOkl5TFxRvtSFByF5yxuFMAXkYEJrogUbmtZBLNyYMlk%2BcCsU4iUCNwcPWpzL1Iijb8PH47nkTOgYXPCoUCkXu5tgizS%2Fb47ojEf5Vedz6buL%2B5zLE00kg%2F4uY%2FEv8KTSr9BWV6C%2F6xmSPZZBF1ihWkD5wE6%2F6P2wkpVqIW7ei%2BFOavITLpuFfQbsqYuP4cNIAomhrkGm%2Fa60BlFGYMdWuRrot%2FZ%2BQv%2FVCJaq2YnsjNd3E0lkHWkNKz%2Bqa5dtn8Ob6eV2hZcnJyr8xZb5oL09AMPTMI0hUzb5Lq8QHwZuXfDvQLmTo3%2B3mE2FzfCbba4RvPqGn9a1YfNPZlwRHb3jTGbC%2FPAYI5eShzbBFKn4n1y%2Ff5lvoTui%2B2ywA9khX2b9mMqj23qBNKYOApLI3oXTzSlmxSyX%2BwajFc5yg1VdpkOSwAj%2FNksnivk%2B%2B8mwn%2FBSFvr%2B2yNnvcOm6B5RJorttDz4yU4Nr%2FnrEqOMJVP7o43GIaE5N%2BhKhsWDWSc8ZLqboEPYshe%2F5eDZO0D7PS%2BMdcoOu2QyWHcJG2Ane6TThyC2M%2Be%2F9lZeyfwDb6SMLSmXeeby0QhrUribXPlsb7OJvH3IY9xKYuZnLFgzMyqc4mJD%2F%2By95q4iw%2BDirjJ8qFefQ3AGU6lR4Qx3GbVC1zErNtBZPUK1QIodj9dFC8pSoKFFMYXj6qvAYf9MrXO%2F7BkQyGJZBsWgr5L3HvRuReRn6QZ35Lj%2FNKdJTz544P6T1IF0ecJ4xkeKE94nTHz19ixQ6Nt9R%2BzM%2FR1ovPf9fK0vZRfhi0BkF7ES%2F5qaOjUmdGSHX7ZcyvVnL5TFkp9K1DiFxJdZ%2Fn2cX532bFQVA6oe%2BRfEjCng7C4BjqxAdlR8ctbWT%2BycUt%2Fn7nCANBrGHHL7KeL9yeBCpo%2BUVj6OeoYto20lNg0xz9aEOL76V%2Bt0RNMJwW2WkunuWDoUGS5OIYp%2Bj0JJDQWdftURkK0BG5tbZPv49ohIHUVv8tiLejOZpCGfllvI%2BP6EK4IC1W2WwL1pMqGW0rLponvahAHm%2B%2B2%2Bk2LyrTfMULBbup0fhH0DQXuLbZUZSLjEw1voK%2Bbqo8jL45kGqApV36NML5Htg%3D%3D"&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;COLORADO COURT OF APPEALS                                                &lt;span&gt;2024COA110&lt;/span&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Court of Appeals No. 22CA0534 &lt;/div&gt;
&lt;div&gt;Jefferson&lt;span&gt; County District Court No. 20CR1024 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Honorable Jason Carrithers, Judge &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;The People of the State of Colorado, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Plaintiff-Appellee, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;v. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Reynold Ramcharan&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Defendant-Appellant. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;JUDGMENT AFFIRMED&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Division VI &lt;/div&gt;
&lt;div&gt;Opinion by JUDGE &lt;span&gt;LIPINSKY&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Schutz and Martinez*, &lt;span&gt;JJ.&lt;/span&gt; concur &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Announced October 10, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Philip J. Weiser, Attorney General, Marixa Frias, Assistant Attorney General, &lt;/div&gt;
&lt;div&gt;Denver, Colorado, for Plaintiff-Appellee &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Casey J. Mulligan, Alternate Defense Counsel, Boulder, Colorado, for &lt;/div&gt;
&lt;div&gt;Defendant-Appellant &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;*Sitting by assignment of the Chief Justice under provisions of Colo. Const. art. &lt;/div&gt;
&lt;div&gt;VI, Â§ 5(3), and Â§ 24-51-1105, C.R.S. 2024. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf3" data-page-no="3"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;1&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 1&lt;span&gt; &lt;/span&gt;&lt;span&gt;The General Assembly enacted Colorado&lt;span&gt;âs&lt;/span&gt; rape shield statute&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;section 18-3-407, C.R.S. 2023, to protect victims of sexual assault &lt;/div&gt;
&lt;div&gt;from &lt;span&gt;â&lt;/span&gt;humiliating and embarrassing public fishing expediti&lt;span&gt;&lt;/span&gt;ons into &lt;/div&gt;
&lt;div&gt;their past sexual conduct.â&lt;span&gt;  &lt;/span&gt;&lt;span&gt;People v. Weiss&lt;span&gt;, 133 P.3d 1180, 1185 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(Colo. 2006) (quoting &lt;span&gt;People v. McKenna&lt;/span&gt;, 585 P.2d 275, 27&lt;span&gt;&lt;/span&gt;8 (Colo. &lt;/div&gt;
&lt;div&gt;1978)).   &lt;/div&gt;
&lt;div&gt;Â¶ 2&lt;span&gt; &lt;/span&gt;&lt;span&gt;To accomplish this goal, the statute limits the introduction of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â&lt;span&gt;evidence of specific instances of the victim&lt;/span&gt;&lt;span&gt;â&lt;span&gt;s &lt;span&gt;. . .&lt;span&gt; prior or &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;subsequent sexual conduct, opinion evidence of the victim&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;span&gt;. . . &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;sexual conduct, and reputation evidence of the victim&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;span&gt;. . .&lt;/span&gt;&lt;/span&gt; sexual &lt;/div&gt;
&lt;div&gt;conduct.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;span&gt;Â§ &lt;span&gt;18&lt;span&gt;-3-407(1), C.R.S. 2023&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.  &lt;span&gt;(We cite the version of the &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;rape shield statute in effect at the time of the trial in this case.) &lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Such evidence is presumed irrelevant, with only a few excepti&lt;span&gt;&lt;/span&gt;ons.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 3&lt;span&gt; &lt;span&gt;One of those exceptions is evidence that â&lt;span&gt;the victim . . . has a &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;history of false reporting of sexual assaults&lt;span&gt;.â  Â§ &lt;/span&gt;&lt;span&gt;18&lt;/span&gt;-3-407(2), C.R.S. &lt;/div&gt;
&lt;div&gt;2023&lt;span&gt;.  &lt;span&gt;But this type of evidence may only be admitted at trial if&lt;span&gt;&lt;/span&gt; the &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;party seeking to introduce &lt;span&gt;it&lt;/span&gt; follows the procedure specified in &lt;/div&gt;
&lt;div&gt;section &lt;span&gt;18&lt;span&gt;-3-&lt;span&gt;407&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span&gt;(2)(a)-&lt;span&gt;(g)&lt;/span&gt;&lt;/span&gt;, C.R.S. 2023&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 4&lt;span&gt; &lt;/span&gt;&lt;span&gt;As part of that procedure, the party seeking to introduce the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;evidence must file a written motion setting forth an &lt;span&gt;â&lt;/span&gt;offer of proof of &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf4" data-page-no="4"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;2&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the relevancy and materiality of . . . evidence that the victim &lt;span&gt;&lt;/span&gt;or &lt;/div&gt;
&lt;div&gt;witness has a history of false reporting of sexual assaults that&lt;span&gt;&lt;/span&gt; is &lt;/div&gt;
&lt;div&gt;proposed to be presented.&lt;span&gt;â  Â§ &lt;/span&gt;&lt;span&gt;18&lt;/span&gt;&lt;span&gt;-3-407(2)(a)&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;C.R.S. 2023&lt;span&gt;.  &lt;/span&gt;The &lt;/div&gt;
&lt;div&gt;written motion &lt;span&gt;â&lt;/span&gt;shall be accompanied by an affidavit in &lt;span&gt;&lt;/span&gt;which the &lt;/div&gt;
&lt;div&gt;offer of proof shall be stated.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;span&gt;Â§ &lt;span&gt;18&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;-3-407(2)(b), C.R.S. 2023. &lt;/div&gt;
&lt;div&gt;Â¶ 5&lt;span&gt; &lt;/span&gt;&lt;span&gt;In this appeal, we consider the sufficiency of an offer of proof &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;consisting of a summary of statements of witness&lt;span&gt;es,&lt;/span&gt; with &lt;span&gt;&lt;/span&gt;whom &lt;/div&gt;
&lt;div&gt;defense counsel apparently never spoke, that lacks any explanat&lt;span&gt;&lt;/span&gt;ion &lt;/div&gt;
&lt;div&gt;of whether the statements are admissible.  We hold that such an &lt;/div&gt;
&lt;div&gt;offer of proof fails because it does not establish that the witness&lt;span&gt;esâ&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;statements were admissible. &lt;/div&gt;
&lt;div&gt;Â¶ 6&lt;span&gt; &lt;/span&gt;&lt;span&gt;Reynold Ramcharan appeals his judgment of conviction &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;entered on jury verdicts finding him guilty of sexual assault on a &lt;/div&gt;
&lt;div&gt;child and contributing to the delinquency of a minor.  &lt;span&gt;We&lt;/span&gt; affirm.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;I.&lt;span&gt; &lt;span&gt;Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 7&lt;span&gt; &lt;span&gt;The evidence introduced at Ramcharanâs trial established the &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;following facts. &lt;/div&gt;
&lt;div&gt;Â¶ 8&lt;span&gt; &lt;/span&gt;&lt;span&gt;Ramcharan met A.M., a fourteen-year-old girl, at a public &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;location after she ran away from the Tennyson Center for Child&lt;span&gt;&lt;/span&gt;ren&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;After A.M. told Ramcharan she had nowhere to live, he said he &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf5" data-page-no="5"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;3&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;might have a place where she could stay, and they walked to his &lt;/div&gt;
&lt;div&gt;apartment.    &lt;/div&gt;
&lt;div&gt;Â¶ 9&lt;span&gt; &lt;span&gt;Once they reached Ramcharanâs apartment, &lt;span&gt;A.M. lay down, &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;fully clothed, in a bedroom.  A.M. testified that Ramcharan entered &lt;/div&gt;
&lt;div&gt;the bedroom a few minutes later, got into bed with her, removed her &lt;/div&gt;
&lt;div&gt;pants, held her down, and sexually assaulted her&lt;span&gt;.  &lt;/span&gt;She specified &lt;/div&gt;
&lt;div&gt;that Ramacharan put his penis in her vagina&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 10&lt;span&gt; &lt;/span&gt;&lt;span&gt;A.M. further testified that, either before they enter&lt;span&gt;ed&lt;/span&gt; the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;apartment or while Ramcharan was holding her down, &lt;span&gt;&lt;/span&gt;he told her &lt;/div&gt;
&lt;div&gt;to smoke methamphetamine using a white pipe.  When she refused, &lt;/div&gt;
&lt;div&gt;he&lt;span&gt; threatened to hurt her if she would not comply.  A.M. smoked &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;from the pipe&lt;span&gt;.  &lt;/span&gt;She later reported that the pipe had a black residue. &lt;/div&gt;
&lt;div&gt;Â¶ 11&lt;span&gt; &lt;/span&gt;&lt;span&gt;She then &lt;span&gt;âgot enough strength to push [Ramcharan] off,â &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;walked out of the bedroom, told two women who were in t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;apartment that she needed fresh air, left the apartment, and asked &lt;/div&gt;
&lt;div&gt;people in neighboring houses to call 911&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 12&lt;span&gt; &lt;/span&gt;&lt;span&gt;A &lt;span&gt;crimes against children detective&lt;span&gt;, &lt;/span&gt;Kim Collins, later &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;interrogated Ramcharan&lt;span&gt;.  H&lt;/span&gt;e denied assaulting A.M.&lt;span&gt;, &lt;/span&gt;saying that &lt;/div&gt;
&lt;div&gt;â&lt;span&gt;everything that happened here was completely &lt;/span&gt;&lt;span&gt;consensual.â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Significantly, however, &lt;span&gt;in response to Detective Collinsâs q&lt;span&gt;&lt;/span&gt;uestion, &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf6" data-page-no="6"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;4&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â&lt;span&gt;Is [A.M.] telling the truth &lt;span&gt;. . .&lt;/span&gt; &lt;span&gt;that you had sex,â Ramcharan said, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â&lt;span&gt;We started &lt;span&gt;to and thatâs when I askedâ A.M. her age.  &lt;/span&gt;He said, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â&lt;span&gt;[T]&lt;/span&gt;&lt;span&gt;hatâs when she got &lt;span&gt;uncomfortable&lt;/span&gt;, so I stopped.â &lt;span&gt;  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 13&lt;span&gt; &lt;/span&gt;&lt;span&gt;In addition, Ramcharan &lt;span&gt;âdenied having a white pipeâ and &lt;/span&gt;told &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the detective that &lt;span&gt;â&lt;/span&gt;he did not give [A.M.] &lt;span&gt;meth to smoke.â  But a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;police officer later discovered a white pipe containing black residue&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;as A.M. had described it, in the jacket Ramcharan had worn &lt;span&gt;on&lt;/span&gt; the &lt;/div&gt;
&lt;div&gt;day of the alleged sexual assault&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 14&lt;span&gt; &lt;/span&gt;&lt;span&gt;A &lt;span&gt;DNA test &lt;span&gt;of&lt;/span&gt; swabs from &lt;span&gt;A.M.âs vagina, cervi&lt;/span&gt;x, and external &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;genitalia did not detect semen, but &lt;span&gt;it&lt;/span&gt; did contain a male Y-STR &lt;/div&gt;
&lt;div&gt;profile that was consistent with Ramcharan&lt;span&gt;âs &lt;/span&gt;genetic material&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;State v. Bander&lt;span&gt;, 208 P.3d 1242, 1246 (Wash. Ct. App. 2009) &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(&lt;span&gt;â&lt;/span&gt;&lt;span&gt;Based on PCR-YSTR typing, a forensic analyst may determine &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;whether a known source and all of his paternal relatives can &lt;span&gt;&lt;/span&gt;be &lt;/div&gt;
&lt;div&gt;excluded as possible contributors to an unknown DNA s&lt;span&gt;&lt;/span&gt;ample.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;).&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;The &lt;span&gt;prosecutionâs expert witness on DNA analysis testified &lt;/span&gt;&lt;span&gt;that,&lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â&lt;span&gt;based on the results of a search of a current population data&lt;span&gt;&lt;/span&gt;base, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the expected frequency of &lt;span&gt;[Ramcharanâ&lt;/span&gt;&lt;span&gt;s]&lt;/span&gt; Y-STR profile is &lt;/div&gt;
&lt;div&gt;approximately 1 in 2,007&lt;span&gt;.â  &lt;/span&gt; &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf7" data-page-no="7"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;5&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 15&lt;span&gt; &lt;/span&gt;&lt;span&gt;Ramcharan was charged with sexual assault on a child wit&lt;span&gt;&lt;/span&gt;h &lt;span&gt;a &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;use of force enhancer, in violation of section 18-3-405(1)&lt;span&gt;, &lt;/span&gt;(2)(a), &lt;/div&gt;
&lt;div&gt;C.R.S. 2024, and contributing to the delinquency of a mino&lt;span&gt;&lt;/span&gt;r, in &lt;/div&gt;
&lt;div&gt;violation of section 18-6-701(1)(a)&lt;span&gt;, &lt;/span&gt;(2)(a), C.R.S. 2024&lt;span&gt;.  &lt;/span&gt;A jury found &lt;/div&gt;
&lt;div&gt;Ramcharan guilty of both crimes, but without the use of force &lt;/div&gt;
&lt;div&gt;sentence enhancer&lt;span&gt;. &lt;/span&gt; Ramcharan appeals his judgment of &lt;/div&gt;
&lt;div&gt;conviction&lt;span&gt;. &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;II.&lt;span&gt; &lt;span&gt;Analysis &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 16&lt;span&gt; &lt;/span&gt;&lt;span&gt;Ramcharan contends that the court reversibly erred &lt;span&gt;by&lt;/span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(1)&lt;span&gt; &lt;/span&gt;&lt;span&gt;denying his request to introduce evidence of A.M.&lt;span&gt;âs &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;alleged history of false reporting of sexual assaults; &lt;/div&gt;
&lt;div&gt;(2)&lt;span&gt; &lt;/span&gt;&lt;span&gt;instructing the jury on the mens rea &lt;/span&gt;&lt;span&gt;âknowinglyâ&lt;/span&gt;&lt;span&gt; in a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;manner that &lt;span&gt;â&lt;/span&gt;deviated from the statutory definition&lt;span&gt;â&lt;/span&gt;; and &lt;/div&gt;
&lt;div&gt;(3)&lt;span&gt; &lt;span&gt;denying Ramcharanâs requests for substitution of &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;appointed counsel.  &lt;/div&gt;
&lt;div&gt;A.&lt;span&gt; &lt;span&gt;Prior False Reports of Sexual Assault &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 17&lt;span&gt; &lt;/span&gt;&lt;span&gt;Ramcharan contends that the court reversibly erred by &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;denying his request to introduce &lt;span&gt;âevidence of A.M.âs multiple p&lt;span&gt;&lt;/span&gt;rior &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;instances of false reports of being sexually assaulted.â  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf8" data-page-no="8"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;6&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;1.&lt;span&gt; &lt;span&gt;Additional Facts &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 18&lt;span&gt; &lt;/span&gt;&lt;span&gt;Defense counsel filed a pretrial notice of intent to admit &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;evidence &lt;span&gt;of â&lt;/span&gt;prior false reports of sexual assault.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;In support of the &lt;/div&gt;
&lt;div&gt;notice&lt;span&gt;, defense counsel submitted a document entitled âaffid&lt;span&gt;&lt;/span&gt;avitâ &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;bearing his signature&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 19&lt;span&gt; &lt;/span&gt;&lt;span&gt;In t&lt;span&gt;he âaffidavit&lt;/span&gt;&lt;span&gt;,&lt;/span&gt;&lt;span&gt;â &lt;/span&gt;defense counsel asserted that he found, in &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;his review of discovery from &lt;span&gt;the district attorneyâs office&lt;/span&gt;, t&lt;span&gt;&lt;/span&gt;hat A.M. &lt;/div&gt;
&lt;div&gt;âhas made previous false accusations of sexual assault.â  &lt;span&gt;&lt;/span&gt;Defense &lt;/div&gt;
&lt;div&gt;counsel then summarized statements &lt;span&gt;of&lt;/span&gt; witnesses that he f&lt;span&gt;&lt;/span&gt;ound in &lt;/div&gt;
&lt;div&gt;the discovery materials.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;(&lt;span&gt;Not&lt;/span&gt;&lt;/span&gt;hing in the record suggests that &lt;/div&gt;
&lt;div&gt;defense counsel ever spoke with any of the witnesses&lt;span&gt;.)  &lt;/span&gt;Those &lt;/div&gt;
&lt;div&gt;statements purport&lt;span&gt;ed&lt;/span&gt; to refer to instances in which A.M. alleged&lt;span&gt;ly &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;made false reports of sexual assault.  In addition, defense counsel &lt;/div&gt;
&lt;div&gt;stated &lt;span&gt;in the âaffidavitâ&lt;/span&gt; &lt;span&gt;that he found âtwo cases had been filed fo&lt;span&gt;&lt;/span&gt;r &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;reporting a false crime,&lt;span&gt;â &lt;/span&gt;although defense counsel did not say that&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;A.M. had been charged in those cases with falsely reporting a &lt;/div&gt;
&lt;div&gt;sexual assault or that A.M. had been convicted in either case. &lt;/div&gt;
&lt;div&gt;Â¶ 20&lt;span&gt; &lt;/span&gt;&lt;span&gt;More importantly, &lt;span&gt;defense counselâs âaffidavitâ &lt;/span&gt;&lt;span&gt;d&lt;span&gt;id&lt;/span&gt;&lt;/span&gt; not indicate &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;whether &lt;span&gt;the witnessesâ statements &lt;/span&gt;were admissible.  &lt;span&gt;See Wei&lt;span&gt;&lt;/span&gt;ss&lt;span&gt;, 133 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;P.3d at 1187.  For example, defense counsel did not state wheth&lt;span&gt;&lt;/span&gt;er &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf9" data-page-no="9"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;7&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the witnesses possessed firsthand knowledge of &lt;span&gt;A.M.âs&lt;/span&gt; alleged false &lt;/div&gt;
&lt;div&gt;reports of sexual assault or whether their assertions were &lt;span&gt;&lt;/span&gt;premised &lt;/div&gt;
&lt;div&gt;on hearsay or on speculation&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 21&lt;span&gt; &lt;span&gt;At the initial hearing on the defenseâs request to introduce &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;evidence of A.M.âs alleged prior false reports of sexual assa&lt;span&gt;&lt;/span&gt;ult, the &lt;/div&gt;
&lt;div&gt;court said it was unsure how the allegations in the âaffidavitâ &lt;span&gt;&lt;/span&gt;fit â&lt;span&gt;in &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the exception of rape shieldâ and&lt;span&gt; directed defense counsel to file &lt;span&gt;&lt;/span&gt;an &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;addendum to the request.  Defense counsel did not file such an &lt;/div&gt;
&lt;div&gt;addendum. &lt;/div&gt;
&lt;div&gt;Â¶ 22&lt;span&gt; &lt;/span&gt;&lt;span&gt;At a status conference conducted one month later, the court &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;invited the prosecutor to respond to the defenseâs notice. &lt;span&gt;&lt;/span&gt; The &lt;/div&gt;
&lt;div&gt;prosecutor challenged the notice for four reasons.  First, he &lt;span&gt;&lt;/span&gt;argued &lt;/div&gt;
&lt;div&gt;that the supporting &lt;span&gt;âaffidavitâ was insufficient because âitâs not a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;signed record given under oath.â  He noted that the âaffidavitâ &lt;span&gt;&lt;/span&gt;was &lt;/div&gt;
&lt;div&gt;not notarized and did not satisfy the statutory requirements fo&lt;span&gt;&lt;/span&gt;r &lt;/div&gt;
&lt;div&gt;unsworn declarations.  Second, he contended that the witnesses &lt;/div&gt;
&lt;div&gt;named in the affidavit âwould be testifying to hearsay&lt;span&gt; . . . and would &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;have no personal knowledge.â  &lt;span&gt;Third, he challenged whether the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âaffidavitâ referenced more than one incident of false reporting&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfa" data-page-no="a"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;8&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Fourth, he noted that the false reporting charges filed against A.M. &lt;/div&gt;
&lt;div&gt;had been dismissed.    &lt;/div&gt;
&lt;div&gt;Â¶ 23&lt;span&gt; &lt;span&gt;In response, defense counsel told the court he could &lt;span&gt;&lt;/span&gt;âre&lt;span&gt;-file &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that with . . . having a notary sign it.  I could fix that defect &lt;span&gt;&lt;/span&gt;quite &lt;/div&gt;
&lt;div&gt;easily.â  Defense counsel further argued that the âaffidavitâ &lt;/div&gt;
&lt;div&gt;described more than one occasion on which A.M. had falsely &lt;/div&gt;
&lt;div&gt;reported that she had been sexually assaulted. &lt;/div&gt;
&lt;div&gt;Â¶ 24&lt;span&gt; &lt;span&gt;The court said it was âdebatableâ whether the document&lt;span&gt;&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;satisfied the affidavit requirement but added that &lt;span&gt;âan attorneyâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;signature [may be] sufficientâ under C.R.C.P. 11 and &lt;span&gt;the prosecuto&lt;span&gt;&lt;/span&gt;r &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;was making &lt;span&gt;a âform over substance sort of argument.â  &lt;span&gt;&lt;/span&gt; &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 25&lt;span&gt; &lt;/span&gt;&lt;span&gt;Turning to the merits of &lt;span&gt;the prosecutorâs argument&lt;/span&gt;, the court &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;concluded that the defenseâs &lt;span&gt;offer of proof was insufficient, saying &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that, although defense counsel âassert[s] thereâs two instances &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;false reporting,â there is âonly one regarding a sexual act.&lt;span&gt;&lt;/span&gt;â  &lt;span&gt;The &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;court also concluded that the offer of proof improperly rested on &lt;/div&gt;
&lt;div&gt;hearsay.  Accordingly, the court denied, without prejudice, the &lt;/div&gt;
&lt;div&gt;defenseâs request &lt;span&gt;for an evidentiary hearing to determine the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;admissibility of &lt;span&gt;evidence of A.M.âs &lt;/span&gt;alleged history of false reporting &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfb" data-page-no="b"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMH/ITp/MMHITpSqSZY5n5MOS/Ale1SyHQLP9sB/524pxnA/Zymqw%3D?AWSAccessKeyId=ASIA5PHC3MTP7EEZUOS4&amp;amp;Expires=1728846159&amp;amp;Signature=Ufpoiw9M6WuBjeMReyIxT0f1cG8%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEGoaCXVzLWVhc3QtMSJHMEUCID7haXu9sHu0TB49S%2FFhwHLYV3m8xpf%2FjJejPdfVdO5fAiEAqOu%2FpincZ2YjBmNAyls3YqAnsZR5ByDsiSBMvWnnaywqugUIwv%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDPvG%2BcZlquvUPw3FwSqOBTdoamMA9H3sDWp0HOkl5TFxRvtSFByF5yxuFMAXkYEJrogUbmtZBLNyYMlk%2BcCsU4iUCNwcPWpzL1Iijb8PH47nkTOgYXPCoUCkXu5tgizS%2Fb47ojEf5Vedz6buL%2B5zLE00kg%2F4uY%2FEv8KTSr9BWV6C%2F6xmSPZZBF1ihWkD5wE6%2F6P2wkpVqIW7ei%2BFOavITLpuFfQbsqYuP4cNIAomhrkGm%2Fa60BlFGYMdWuRrot%2FZ%2BQv%2FVCJaq2YnsjNd3E0lkHWkNKz%2Bqa5dtn8Ob6eV2hZcnJyr8xZb5oL09AMPTMI0hUzb5Lq8QHwZuXfDvQLmTo3%2B3mE2FzfCbba4RvPqGn9a1YfNPZlwRHb3jTGbC%2FPAYI5eShzbBFKn4n1y%2Ff5lvoTui%2B2ywA9khX2b9mMqj23qBNKYOApLI3oXTzSlmxSyX%2BwajFc5yg1VdpkOSwAj%2FNksnivk%2B%2B8mwn%2FBSFvr%2B2yNnvcOm6B5RJorttDz4yU4Nr%2FnrEqOMJVP7o43GIaE5N%2BhKhsWDWSc8ZLqboEPYshe%2F5eDZO0D7PS%2BMdcoOu2QyWHcJG2Ane6TThyC2M%2Be%2F9lZeyfwDb6SMLSmXeeby0QhrUribXPlsb7OJvH3IY9xKYuZnLFgzMyqc4mJD%2F%2By95q4iw%2BDirjJ8qFefQ3AGU6lR4Qx3GbVC1zErNtBZPUK1QIodj9dFC8pSoKFFMYXj6qvAYf9MrXO%2F7BkQyGJZBsWgr5L3HvRuReRn6QZ35Lj%2FNKdJTz544P6T1IF0ecJ4xkeKE94nTHz19ixQ6Nt9R%2BzM%2FR1ovPf9fK0vZRfhi0BkF7ES%2F5qaOjUmdGSHX7ZcyvVnL5TFkp9K1DiFxJdZ%2Fn2cX532bFQVA6oe%2BRfEjCng7C4BjqxAdlR8ctbWT%2BycUt%2Fn7nCANBrGHHL7KeL9yeBCpo%2BUVj6OeoYto20lNg0xz9aEOL76V%2Bt0RNMJwW2WkunuWDoUGS5OIYp%2Bj0JJDQWdftURkK0BG5tbZPv49ohIHUVv8tiLejOZpCGfllvI%2BP6EK4IC1W2WwL1pMqGW0rLponvahAHm%2B%2B2%2Bk2LyrTfMULBbup0fhH0DQXuLbZUZSLjEw1voK%2Bbqo8jL45kGqApV36NML5Htg%3D%3D"&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;9&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of sexual assaults.  Although the court said that defense counsel &lt;/div&gt;
&lt;div&gt;could refile the request, the defense did not do so&lt;span&gt;. &lt;/span&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;2.&lt;span&gt; &lt;span&gt;Standard of Review &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 26&lt;span&gt; &lt;span&gt;We review the construction and interpretation of Coloradoâs &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;rape shield statute de novo.  &lt;span&gt;See Weiss&lt;/span&gt;, 133 P.3d &lt;span&gt;at&lt;/span&gt; 1184&lt;span&gt;.  &lt;span&gt;â&lt;/span&gt;&lt;/span&gt;Our &lt;/div&gt;
&lt;div&gt;objective is to effectuate the intent and purpose of the Gene&lt;span&gt;&lt;/span&gt;ral &lt;/div&gt;
&lt;div&gt;Assembly&lt;span&gt;.  &lt;span&gt;We read the statute as a whole, giving sensible effect to &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;all of its parts whenever possible.  If the statutory language is cl&lt;span&gt;&lt;/span&gt;ear, &lt;/div&gt;
&lt;div&gt;we apply the plain and ordinary meaning of the provision.&lt;span&gt;â&lt;/span&gt;  &lt;span&gt;I&lt;span&gt;&lt;/span&gt;d.&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(citations omitted).  &lt;/div&gt;
&lt;div&gt;Â¶ 27&lt;span&gt; &lt;/span&gt;&lt;span&gt;In addition&lt;span&gt;, â[w]&lt;/span&gt;e review a trial court&lt;span&gt;â&lt;/span&gt;s determination of the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;admissibility of evidence under the rape shield statute for an abuse &lt;/div&gt;
&lt;div&gt;of discretion&lt;span&gt;.â  &lt;span&gt;People v. Buckner&lt;/span&gt;&lt;/span&gt;, 2022 COA 14, Â¶ 63, 509 &lt;span&gt;&lt;/span&gt;P.3d 452, &lt;/div&gt;
&lt;div&gt;464.&lt;span&gt;  &lt;span&gt;â&lt;/span&gt;&lt;/span&gt;&lt;span&gt;A court abuses its discretion when its ruling is manifestly &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;arbitrary, unreasonable, &lt;span&gt;or&lt;/span&gt; unfair, &lt;span&gt;or&lt;/span&gt; is based on an erroneous view &lt;/div&gt;
&lt;div&gt;of the law&lt;span&gt;.â  &lt;span&gt;Id. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 28&lt;span&gt; &lt;/span&gt;&lt;span&gt;The parties disagree whether &lt;span&gt;the courtâs denial of the defenseâs &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;request to introduce evidence of &lt;span&gt;A.M.âs &lt;/span&gt;alleged prior false reports of &lt;/div&gt;
&lt;div&gt;sexual assault could have violated &lt;span&gt;Ramcharanâs &lt;/span&gt;constitutional &lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfc" data-page-no="c"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;10&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;rights to confront the witnesses against him and to present &lt;span&gt;&lt;/span&gt;a &lt;/div&gt;
&lt;div&gt;complete defense&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 29&lt;span&gt; &lt;span&gt;â&lt;span&gt;An erroneous evidentiary ruling may rise to the level &lt;span&gt;&lt;/span&gt;of &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;constitutional error if it deprived the defendant of any&lt;span&gt;&lt;/span&gt; meaningful &lt;/div&gt;
&lt;div&gt;opportunity to present a complete defense.&lt;span&gt;â  &lt;span&gt;People v. Conyac&lt;/span&gt;&lt;/span&gt;&lt;span&gt;, &lt;span&gt;&lt;/span&gt;2014 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;COA 8M, Â¶ 93, 361 P.3d 1005, &lt;span&gt;1024&lt;/span&gt;.  But a defendant&lt;span&gt;â&lt;/span&gt;s right to &lt;/div&gt;
&lt;div&gt;present a defense is violated only when &lt;span&gt;â&lt;/span&gt;the defendant was denie&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;virtually his only means of effectively testing significant &lt;span&gt;&lt;/span&gt;prosecution &lt;/div&gt;
&lt;div&gt;evidence.&lt;span&gt;â  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt;; &lt;/span&gt;&lt;span&gt;see also Krutsinger v. People&lt;span&gt;, 219 P.3d 1054, 1062 &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(Colo. 2009) (holding that an evidentiary ruling amounts to &lt;/div&gt;
&lt;div&gt;constitutional error if it âeffectively barred the defendant&lt;span&gt;&lt;/span&gt; from &lt;/div&gt;
&lt;div&gt;meaningfully testing evidence central to establishing his guiltâ&lt;span&gt;).&lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;3.&lt;span&gt; &lt;span&gt;The Law &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 30&lt;span&gt; &lt;/span&gt;&lt;span&gt;Under the rape shield statute, a party can introduce evidence &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that the victim âhas a history of false reporting of sexual assault&lt;span&gt;&lt;/span&gt;sâ &lt;/div&gt;
&lt;div&gt;only by adhering to the procedure specified in section 18-3-407(2), &lt;/div&gt;
&lt;div&gt;C.R.S. 2023: &lt;/div&gt;
&lt;div&gt;(a) A written motion shall be made . . . to the &lt;/div&gt;
&lt;div&gt;court and to the opposing parties stating that &lt;/div&gt;
&lt;div&gt;the moving party has an offer of proof of the &lt;/div&gt;
&lt;div&gt;relevancy and materiality of . . . evidence that &lt;/div&gt;
&lt;div&gt;the victim or witness has a history of false &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfd" data-page-no="d"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;11&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;reporting of sexual assaults that is proposed to &lt;/div&gt;
&lt;div&gt;be presented. &lt;/div&gt;
&lt;div&gt;(b) The written motion shall be accompanied &lt;/div&gt;
&lt;div&gt;by an affidavit in which the offer of proof shall &lt;/div&gt;
&lt;div&gt;be stated. &lt;/div&gt;
&lt;div&gt;Â§ &lt;span&gt;18&lt;/span&gt;&lt;span&gt;-3-407(2)(a)-(&lt;span&gt;b)&lt;/span&gt;&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;C.R.S. 2023&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 31&lt;span&gt; &lt;/span&gt;&lt;span&gt;Because section 18-3-407(2)(b), C.R.S. 2023, &lt;span&gt;refers to âan &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;affidavit,â the document in which âthe offer of proof shall be st&lt;span&gt;&lt;/span&gt;atedâ &lt;/div&gt;
&lt;div&gt;must satisfy the legal requirements for affidavits&lt;span&gt;, &lt;/span&gt;&lt;span&gt;see &lt;/span&gt;C.R.C.P. 108 &lt;/div&gt;
&lt;div&gt;(&lt;span&gt;â&lt;/span&gt;&lt;span&gt;An affidavit may be sworn to either within or without &lt;span&gt;&lt;/span&gt;this state &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;before any officer authorized by law to take and certify &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;acknowledgment of deeds conveying lands.&lt;span&gt;â); &lt;span&gt;Otani v. Dist&lt;span&gt;&lt;/span&gt;. Ct.&lt;span&gt;, 662 &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;P.2d 1088, 1090 (Colo. 1983) (â&lt;span&gt;An affidavit is a signed, written &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;statement, made under oath before an authorized officer, in wh&lt;span&gt;&lt;/span&gt;ich &lt;/div&gt;
&lt;div&gt;the affiant vouches that what is said is true&lt;span&gt;.â).&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;(We look to C.R.C.P.&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;108 for guidance in the absence of a Rule of Criminal Procedure &lt;/div&gt;
&lt;div&gt;that address&lt;span&gt;es&lt;/span&gt; affidavits.  &lt;span&gt;See &lt;/span&gt;Crim. P. 57(b).)  An unsworn &lt;/div&gt;
&lt;div&gt;declaration that complies with section 13-&lt;span&gt;27&lt;/span&gt;-106, C.R.S. &lt;span&gt;&lt;/span&gt;2024, can &lt;/div&gt;
&lt;div&gt;be used in place of an affidavit.  C.R.C.P. 108.&lt;span&gt;  &lt;/span&gt;Section 13-&lt;span&gt;27&lt;/span&gt;-106 &lt;/div&gt;
&lt;div&gt;specifies that unsworn declarations must include the statement, &lt;span&gt;âI &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfe" data-page-no="e"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;12&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;declare under penalty of perjury under the law of Colorado that &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;foregoing is true and correct.â&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 32&lt;span&gt; &lt;/span&gt;&lt;span&gt;If the court finds that the offer of proof is sufficient, &lt;span&gt;it&lt;/span&gt; &lt;span&gt;âshall &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;notify the other party of such.â  Â§&lt;span&gt; &lt;span&gt;18&lt;/span&gt;-3-407(2)(c), C.R.S. 2023.  If t&lt;span&gt;&lt;/span&gt;he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;prosecution disputes the facts described in the offer of proof, t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;court shall set a pretrial in camera evidentiary hearing, at wh&lt;span&gt;&lt;/span&gt;ich &lt;/div&gt;
&lt;div&gt;â&lt;span&gt;the court may allow the questioning of the victim or wit&lt;span&gt;&lt;/span&gt;ness &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;regarding the offer of proof made by the moving party or othe&lt;span&gt;&lt;/span&gt;rwise &lt;/div&gt;
&lt;div&gt;allow a presentation of the offer of proof, including b&lt;span&gt;&lt;/span&gt;ut not limited &lt;/div&gt;
&lt;div&gt;to the presentation of witnesses.â  &lt;span&gt;Id.&lt;span&gt;  &lt;/span&gt;&lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt;Only if the prosecution &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;stipulates to the facts contained in the offer of proof&lt;span&gt;â&lt;/span&gt; may the cou&lt;span&gt;&lt;/span&gt;rt &lt;/div&gt;
&lt;div&gt;rule on the request to introduce evidence otherwise barred &lt;span&gt;&lt;/span&gt;under &lt;/div&gt;
&lt;div&gt;the rape shield statute without an evidentiary hearing&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;Weiss&lt;/span&gt;, &lt;span&gt;133 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;P.3d at 1187.  &lt;/div&gt;
&lt;div&gt;Â¶ 33&lt;span&gt; &lt;/span&gt;&lt;span&gt;An offer of proof &lt;span&gt;is a âpreview of the evidence a party is &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;prepared to introduce at an evidentiary hearingâ and âconsists &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;allegations that the party&lt;span&gt;â&lt;/span&gt;s attorney represents would be proven &lt;span&gt;&lt;/span&gt;if &lt;/div&gt;
&lt;div&gt;the court granted the hearing.â &lt;span&gt; &lt;span&gt;People v. Marx&lt;/span&gt;, 2019 COA 138, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 46, 467 P.3d 1196, 1206.  An offer of proof &lt;span&gt;â&lt;/span&gt;typically states: &lt;/div&gt;
&lt;div&gt;(1) what the anticipated testimony of the witness would be if&lt;span&gt;&lt;/span&gt; the &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pff" data-page-no="f"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;13&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;witness were permitted to testify concerning the matter at &lt;span&gt;&lt;/span&gt;issue; &lt;/div&gt;
&lt;div&gt;(2) the purpose and relevance of the testimony sought to be &lt;/div&gt;
&lt;div&gt;introduced; and (3) all the facts necessary to establish the &lt;/div&gt;
&lt;div&gt;testimony&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s admissibility&lt;span&gt;.â  &lt;span&gt;Weiss&lt;/span&gt;&lt;/span&gt;, 133 P.3d at 1186-87.&lt;span&gt;  &lt;/span&gt;&lt;/span&gt;&lt;span&gt;â[T]&lt;/span&gt;&lt;span&gt;he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;affidavit accompanying the defendantâs offer of proof must a&lt;span&gt;&lt;/span&gt;rticulate &lt;/div&gt;
&lt;div&gt;facts which, if demonstrated at the evidentiary hearing by a &lt;/div&gt;
&lt;div&gt;preponderance of the evidence, would show that the &lt;span&gt;&lt;/span&gt;alleged victim &lt;/div&gt;
&lt;div&gt;made multiple prior or subsequent reports of sexual assault that&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;were in fact false.â  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt; at 1184&lt;span&gt;. &lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;4.&lt;span&gt; &lt;span&gt;Defense &lt;span&gt;Counselâs âAffidavitâ&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 34&lt;span&gt; &lt;/span&gt;&lt;span&gt;The division requested supplemental briefing on whether &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;defense counselâs&lt;span&gt; &lt;/span&gt;&lt;span&gt;âaffidavitâ&lt;/span&gt;&lt;span&gt; containing &lt;/span&gt;Ramcharanâs &lt;span&gt;offer of proof &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;satisfied the legal requirements for affidavits or unsworn &lt;/div&gt;
&lt;div&gt;declarations.&lt;span&gt;  &lt;span&gt;The document was neither notarized nor did it &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;expressly say that it was made &lt;span&gt;â&lt;/span&gt;under penalty of perjury under t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;law of Colorado.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;Although the prosecution argued before trial that, &lt;/div&gt;
&lt;div&gt;for this reason, &lt;span&gt;defense counselâs submission&lt;/span&gt; did not satisfy section &lt;/div&gt;
&lt;div&gt;18&lt;span&gt;-3-407(2)(b), C.R.S. 2023, the court did not decide &lt;span&gt;&lt;/span&gt;the issue but, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;instead, concluded that defense counsel had failed to make &lt;span&gt;a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;sufficient offer of proof under section &lt;span&gt;18&lt;/span&gt;-3-407(2)(a), C.R.S. 2023.  &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf10" data-page-no="10"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;14&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;The People did not challenge the form of the &lt;span&gt;âaffidavitâ&lt;/span&gt; in their &lt;/div&gt;
&lt;div&gt;answer brief. &lt;/div&gt;
&lt;div&gt;Â¶ 35&lt;span&gt; &lt;/span&gt;&lt;span&gt;We need not decide whether the document satisfied the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;affidavit requirement set forth in section &lt;span&gt;18&lt;/span&gt;-3-407(2)(b), C.R.S. &lt;/div&gt;
&lt;div&gt;2023, however, because, like the court, we hold that defense &lt;/div&gt;
&lt;div&gt;counsel failed to make a sufficient offer of proof&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See infra &lt;/span&gt;Part &lt;/div&gt;
&lt;div&gt;II.A.5.&lt;span&gt;  &lt;span&gt;Nonetheless, we are troubled by the deficiencies in the form &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of &lt;span&gt;defense counselâs âaffidavit&lt;/span&gt;&lt;span&gt;.&lt;span&gt;â&lt;/span&gt;&lt;/span&gt;  &lt;/div&gt;
&lt;div&gt;5.&lt;span&gt; &lt;span&gt;Ramcharan Did Not Make a Sufficient Offer of Proof &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Under Section 18-3-407(2)(a), C.R.S. 2023 &lt;/div&gt;
&lt;div&gt;Â¶ 36&lt;span&gt; &lt;/span&gt;&lt;span&gt;Next, w&lt;span&gt;e hold that Ramcharanâs offer of proof &lt;/span&gt;was insufficient &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;under section 18-3-407(2)(a), C.R.S. 2023, because he did not &lt;/div&gt;
&lt;div&gt;provide facts establishing that the witness&lt;span&gt;esâ&lt;/span&gt; statements referenc&lt;span&gt;&lt;/span&gt;ed &lt;/div&gt;
&lt;div&gt;in his âaffidavitâ&lt;span&gt; were admissible. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 37&lt;span&gt; &lt;span&gt;As noted above, the âaffidavitâ consist&lt;span&gt;ed&lt;/span&gt;&lt;span&gt; of witness statements &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that defense counsel obtain&lt;span&gt;ed&lt;/span&gt; from discovery materials, as well as &lt;/div&gt;
&lt;div&gt;his review of two court files in which A.M. was charged with f&lt;span&gt;&lt;/span&gt;alse &lt;/div&gt;
&lt;div&gt;reporting.&lt;span&gt;  &lt;span&gt;Defense counsel did not say he had spoken wit&lt;span&gt;&lt;/span&gt;h any of &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the witnesses named in the âaffidavit.â&lt;span&gt;  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf11" data-page-no="11"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;15&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 38&lt;span&gt; &lt;/span&gt;&lt;span&gt;N&lt;span&gt;othing in the âaffidavitâ indicate&lt;span&gt;d &lt;/span&gt;the basis for the witnessesâ &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;alleged knowledge that A.M. had made false reports of sexual &lt;/div&gt;
&lt;div&gt;assault or established that &lt;span&gt;the witnessesâ statements were &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;admissible evidence&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;Specifically&lt;/span&gt;&lt;span&gt;, t&lt;/span&gt;he &lt;span&gt;â&lt;/span&gt;&lt;span&gt;affidavit&lt;/span&gt;&lt;span&gt;â &lt;/span&gt;stated that Steve &lt;/div&gt;
&lt;div&gt;Bailey&lt;span&gt;, A.M.âs guardian ad litem,&lt;span&gt; told Detective Collins that&lt;span&gt;&lt;/span&gt; A.M. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âhad a history of false reporting,â including an âinstance where &lt;/div&gt;
&lt;div&gt;[A.M.&lt;span&gt;] had made allegations of sexual assault âthat she said &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;happened in one place when it was known she was somewhere &lt;/div&gt;
&lt;div&gt;else.ââ  &lt;span&gt;Defense counsel did not indicate how Bailey became aware of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;this incident, whether Bailey was merely repeating information he &lt;/div&gt;
&lt;div&gt;obtained from others, &lt;span&gt;or&lt;/span&gt; whether Bailey could provide admissible &lt;/div&gt;
&lt;div&gt;testimony regarding the incident.  &lt;/div&gt;
&lt;div&gt;Â¶ 39&lt;span&gt; &lt;/span&gt;&lt;span&gt;T&lt;span&gt;he âaffidavitâ also report&lt;/span&gt;&lt;span&gt;ed&lt;/span&gt;&lt;span&gt; information that Mallory Scott, a &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âsocial worker with Teller County DHS&lt;span&gt;,&lt;/span&gt;â provided to Detective &lt;/div&gt;
&lt;div&gt;Collins, a deputy district attorney, and an investigator with &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;district attorneyâs office. &lt;span&gt; According to defense counsel, Scott&lt;span&gt;&lt;/span&gt; said &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that A.M. &lt;span&gt;âhad been charged in Teller County for false re&lt;span&gt;&lt;/span&gt;porting of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;sexual assault.â  &lt;span&gt;But the &lt;/span&gt;âaffidavitâ &lt;span&gt;did not indicate how Scott &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;learned of the charge&lt;span&gt;, &lt;/span&gt;whether she possessed any firsthand &lt;/div&gt;
&lt;div&gt;knowledge of the facts supporting the charge, or whether A.M. was &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf12" data-page-no="12"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;16&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;convicted in the case.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;The âaffidavitâ &lt;/span&gt;quoted Scott as saying that &lt;/div&gt;
&lt;div&gt;A.M. was sexual&lt;span&gt;ly&lt;/span&gt; assault&lt;span&gt;ed&lt;/span&gt; in 2018; &lt;span&gt;âreported other incident&lt;span&gt;&lt;/span&gt;s of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;sexual assault allegations, including the incident in which she w&lt;span&gt;&lt;/span&gt;as &lt;/div&gt;
&lt;div&gt;charged with &lt;span&gt;â&lt;/span&gt;reporting a false crime&lt;span&gt;ââ; and&lt;/span&gt; &lt;span&gt;âcontinued to make false &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;reports up until December 2019.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;Notably, &lt;span&gt;the âaffidavitâ did not &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;quote Scott as saying that A.M. falsely reported a sexual assault in &lt;/div&gt;
&lt;div&gt;2018 &lt;span&gt;or that the âcontinued .&lt;/span&gt; &lt;span&gt;. . false reportsâ include&lt;/span&gt;d false re&lt;span&gt;&lt;/span&gt;ports &lt;/div&gt;
&lt;div&gt;of sexual assault.&lt;span&gt;  &lt;/span&gt;According to defense counsel, Scott said that &lt;/div&gt;
&lt;div&gt;A.M. &lt;span&gt;would âsometimes tell Ms. Scott that a particular assault &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;didnât actua&lt;span&gt;lly happen&lt;/span&gt;,â but the âaffidavitâ &lt;span&gt;did not say that any &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;such &lt;span&gt;âparticular &lt;/span&gt;&lt;span&gt;assault&lt;span&gt;â&lt;/span&gt;&lt;/span&gt; was a sexual assault or how many times &lt;/div&gt;
&lt;div&gt;A.M. allegedly told Scott that âa particular assault didnât &lt;span&gt;&lt;/span&gt;actually &lt;/div&gt;
&lt;div&gt;happen.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;span&gt;More importantly, the âaffidavitâ &lt;span&gt;did not indicate how &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Scott knew that A.M. false&lt;span&gt;ly&lt;/span&gt; reported any sexual assault&lt;span&gt;. &lt;/span&gt;  &lt;/div&gt;
&lt;div&gt;Â¶ 40&lt;span&gt; &lt;span&gt;The âaffidavitâ &lt;span&gt;further said that Scott provided an example &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;where A.M. &lt;span&gt;âwent running down a trail near the police stati&lt;span&gt;&lt;/span&gt;on&lt;span&gt; and &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;reported to the first person she saw that she had been sexually &lt;/div&gt;
&lt;div&gt;assaulted.â  According to the âaffidavit,â Scott said that off&lt;span&gt;&lt;/span&gt;icers &lt;/div&gt;
&lt;div&gt;found a threatening note in A.M.&lt;span&gt;âs backpack and that &lt;/span&gt;A.M. &lt;/div&gt;
&lt;div&gt;âallegedly admitted that she was the one who wrote that&lt;span&gt;&lt;/span&gt; note.â  But &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf13" data-page-no="13"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;17&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the âaffidavitâ &lt;span&gt;did not say that A.M. falsely reported the sexual &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;assault or that Scott possessed personal knowledge of the &lt;span&gt;&lt;/span&gt;incident. &lt;/div&gt;
&lt;div&gt;Â¶ 41&lt;span&gt; &lt;span&gt;Further, the âaffidavitâ &lt;span&gt;said that, according to Scott, A.M. &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;made a report that &lt;span&gt;âpolice were able to determine was false by &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;checking surveillance camera footage.â  The âaffidavitâ &lt;span&gt;did not &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;explain how Scott knew of the alleged&lt;span&gt;ly&lt;/span&gt; false report, however.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 42&lt;span&gt; &lt;/span&gt;&lt;span&gt;Finally, t&lt;span&gt;he reference to the two court cases in the âaffidavitâ &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;did not indicate whether either case arose from &lt;span&gt;a &lt;/span&gt;false report of &lt;/div&gt;
&lt;div&gt;sexual assault, whether the false reporting charges filed against &lt;/div&gt;
&lt;div&gt;A.M. were meritorious, or how evidence of any false reports of &lt;/div&gt;
&lt;div&gt;sexual assault underlying those cases could be admitted int&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;div&gt;evidence&lt;span&gt;.  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 43&lt;span&gt; &lt;/span&gt;&lt;span&gt;The offer of proof specified in section 18-3-407(2)(a), C.R.S. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2023, requires more than mere allegations that the victim has a &lt;/div&gt;
&lt;div&gt;history of false reporting of sexual assaults&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See Weiss&lt;/span&gt;, 133 P.3d at &lt;/div&gt;
&lt;div&gt;1184.  Rather, the offer of proof and the hearing discussed in &lt;/div&gt;
&lt;div&gt;section 18-3-407(2)(c), C.R.S. 2023, are intended to screen &lt;span&gt;â&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;evidence proposed to be offered regarding the sexual conduct &lt;span&gt;&lt;/span&gt;of the &lt;/div&gt;
&lt;div&gt;victim.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;span&gt;Â§ 18-3-407(2)(e), C.R.S. 2023.  The procedures set forth in &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;section &lt;span&gt;18&lt;/span&gt;-3-407(2)(a), (b), and (c), C.R.S. 2023, would &lt;span&gt;&lt;/span&gt;be &lt;span&gt;a &lt;/span&gt;futile &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf14" data-page-no="14"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;18&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;exercise if &lt;span&gt;an&lt;/span&gt; offer of proof consist&lt;span&gt;ed&lt;/span&gt; of inadmissible evidence.&lt;span&gt;  &lt;/span&gt;For &lt;/div&gt;
&lt;div&gt;this reason, the offer of &lt;span&gt;proof must state â&lt;/span&gt;all the facts necessary &lt;span&gt;&lt;/span&gt;to &lt;/div&gt;
&lt;div&gt;establish the testimony&lt;span&gt;â&lt;/span&gt;s admissibility&lt;span&gt;.â  &lt;span&gt;Weiss&lt;/span&gt;&lt;/span&gt;, 133 P.3d at 118&lt;span&gt;&lt;/span&gt;6-&lt;/div&gt;
&lt;div&gt;87.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 44&lt;span&gt; &lt;span&gt;Defense counselâs âoffer of proofâ &lt;span&gt;fell far short of explaining &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;how any of the allegations of false reporting of sexual assault &lt;/div&gt;
&lt;div&gt;contained in the âaffidavitâ &lt;span&gt;were admissible.&lt;span&gt;  &lt;/span&gt;Although there is no &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;requirement that the affiant who executes the affidavit required &lt;/div&gt;
&lt;div&gt;pursuant to section &lt;span&gt;18&lt;/span&gt;-3-407(2)(b), C.R.S. 2023, speak with the &lt;/div&gt;
&lt;div&gt;witnesses whose statements appear in the affidavit, &lt;span&gt;an affiantâs &lt;/span&gt;sole &lt;/div&gt;
&lt;div&gt;reliance on third-party documents to obtain &lt;span&gt;th&lt;span&gt;os&lt;/span&gt;&lt;/span&gt;e statements &lt;/div&gt;
&lt;div&gt;increases the likelihood that a court will determine that the &lt;span&gt;&lt;/span&gt;offer of &lt;/div&gt;
&lt;div&gt;proof fails to establish the statements&lt;span&gt;â&lt;/span&gt; admissibility. &lt;/div&gt;
&lt;div&gt;Â¶ 45&lt;span&gt; &lt;span&gt;The âaffidavitâ&lt;span&gt; &lt;/span&gt;that Ramcharanâs counsel tendered to the court&lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;does not state that the specified individuals have firsthand &lt;/div&gt;
&lt;div&gt;knowledge of the allegations &lt;span&gt;or&lt;/span&gt;, if not, the basis for their knowledge.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;If the individuals were merely recounting hearsay &lt;span&gt;â&lt;/span&gt; &lt;span&gt;â&lt;/span&gt;a statement &lt;/div&gt;
&lt;div&gt;other than one made by the declarant while testifying at t&lt;span&gt;&lt;/span&gt;he trial or &lt;/div&gt;
&lt;div&gt;hearing, offered in evidence to prove the truth of the matt&lt;span&gt;&lt;/span&gt;er &lt;/div&gt;
&lt;div&gt;asserted,&lt;span&gt;â&lt;/span&gt;&lt;span&gt; CRE 801(c) &lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt; the individuals&lt;span&gt;â statements &lt;/span&gt;regarding &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf15" data-page-no="15"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;19&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;A.M.&lt;span&gt;âs alleged &lt;span&gt;history of false reporting of sexual assaults would be &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;inadmissible.&lt;span&gt;  &lt;span&gt;See &lt;span&gt;CRE 802 (&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt;Hearsay is not admissible except as &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;provided by these rules or by the civil and criminal p&lt;span&gt;&lt;/span&gt;rocedural rules &lt;/div&gt;
&lt;div&gt;applicable to the courts of Colorado or by any statut&lt;span&gt;&lt;/span&gt;es of the State &lt;/div&gt;
&lt;div&gt;of Colorado.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;)&lt;/span&gt;&lt;span&gt;; &lt;/span&gt;&lt;span&gt;see also&lt;/span&gt; CRE 804, 805, 807 (setting forth vari&lt;span&gt;&lt;/span&gt;ous &lt;/div&gt;
&lt;div&gt;exceptions to the general bar against hearsay testimony). &lt;/div&gt;
&lt;div&gt;Â¶ 46&lt;span&gt; &lt;/span&gt;&lt;span&gt;Defense counsel was required to explain in his offer of proof &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;why the witnessesâ statements were admissible.  Defense counselâs &lt;/div&gt;
&lt;div&gt;offer of proof failed absent such an explanation. &lt;/div&gt;
&lt;div&gt;Â¶ 47&lt;span&gt; &lt;/span&gt;&lt;span&gt;For these reasons, we conclude that the court did not abuse &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;its discretion by denying &lt;span&gt;Ramcharanâs &lt;/span&gt;request to introduce &lt;/div&gt;
&lt;div&gt;evidence of A.M.âs &lt;span&gt;history of false reports of sexual assaults. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;B.&lt;span&gt; &lt;span&gt;Instructional Error &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 48&lt;span&gt; &lt;/span&gt;&lt;span&gt;Ramcharan contends that the court reversibly erred &lt;span&gt;by&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;instructing the jury on the word âknowinglyâ&lt;span&gt; in a way that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â&lt;span&gt;substantially deviated from the statutory definition, was &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;misleading, inaccurately stated the law, and lowered the &lt;/div&gt;
&lt;div&gt;prosecution&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s burden to prove every element &lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt; including the men&lt;span&gt;&lt;/span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;rea &lt;span&gt;â&lt;/span&gt; of each offense beyond a reasonable doubt.&lt;span&gt;â  &lt;/span&gt;  &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf16" data-page-no="16"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;20&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;1.&lt;span&gt; &lt;span&gt;Preservation and Standard of Review &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 49&lt;span&gt; &lt;/span&gt;&lt;span&gt;The People contend that defense counsel only objected to the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;inclusion of the word âwell&lt;span&gt;-&lt;/span&gt;beingâ in the &lt;span&gt;instructions and therefore &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;did not preserve &lt;span&gt;Ramcharanâs challenge to the courtâs instruction &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;defining the word âknowingly&lt;span&gt;.&lt;/span&gt;&lt;span&gt;â&lt;span&gt;  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 50&lt;span&gt; &lt;span&gt;Objections must be âspecific enough to draw the trial courtâs &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;attention to the asserted error.â  &lt;span&gt;People v. Tallent&lt;span&gt;, 2021 CO 68, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 12, 495 P.3d 944, 948 (quoting &lt;span&gt;Martinez v. People&lt;/span&gt;, 2015 CO 16, &lt;/div&gt;
&lt;div&gt;Â¶ 14, 344 P.3d 862, 868)&lt;span&gt;.  &lt;/span&gt;The record confirms that defense counsel &lt;/div&gt;
&lt;div&gt;did not specifically draw attention to the asserted error in the &lt;/div&gt;
&lt;div&gt;courtâs &lt;span&gt;definition &lt;/span&gt;of âknowinglyâ&lt;span&gt; because he only objected to the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;inclusion of &lt;span&gt;âwell&lt;span&gt;-being&lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;/span&gt; in the definition.  In contrast to his &lt;/div&gt;
&lt;div&gt;counselâs &lt;span&gt;objection at trial, on appeal Ramcharan contends that &lt;span&gt;&lt;/span&gt;the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;trial courtâs definition&lt;span&gt; &lt;/span&gt;of âknowinglyâ&lt;span&gt; is inconsistent with the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;statutory definition.  Â§ &lt;span&gt;18&lt;/span&gt;-1-501(6), C.R.S. 2024. &lt;/div&gt;
&lt;div&gt;Â¶ 51&lt;span&gt; &lt;span&gt;â&lt;span&gt;We review de novo whether the jury instructions as a w&lt;span&gt;&lt;/span&gt;hole &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;accurately informed the jury of the governing law.&lt;span&gt;â &lt;/span&gt; &lt;span&gt;People v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Manyik&lt;span&gt;, 2016 COA 42, Â¶ 65&lt;span&gt;, &lt;/span&gt;383 P.3d 77, 89.&lt;span&gt;  &lt;span&gt;â&lt;/span&gt;&lt;/span&gt;However, we review &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the trial court&lt;span&gt;â&lt;/span&gt;s decision regarding whether to give a particul&lt;span&gt;&lt;/span&gt;ar jury &lt;/div&gt;
&lt;div&gt;instruction for an abuse of discretion&lt;span&gt;.â  &lt;span&gt;Id&lt;span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span&gt;  &lt;span&gt;â&lt;/span&gt;&lt;/span&gt;A jury instruction &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf17" data-page-no="17"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;21&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;should substantially track the language of the statute desc&lt;span&gt;&lt;/span&gt;ribing &lt;/div&gt;
&lt;div&gt;the crime; a material deviation from the statute can result in &lt;/div&gt;
&lt;div&gt;reversible plain error, depending on the facts of the case.â &lt;span&gt; &lt;span&gt;People v. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Weinreich&lt;span&gt;, 119 P.3d 1073, 1076 (Colo. 2005).&lt;span&gt;  &lt;/span&gt;We review not only &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;whether the jury instructions faithfully track&lt;span&gt;ed&lt;/span&gt; the law but also &lt;/div&gt;
&lt;div&gt;whether they &lt;span&gt;we&lt;/span&gt;re confusing or may have misled the jury.  &lt;span&gt;Garcia&lt;span&gt;&lt;/span&gt; v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;People&lt;span&gt;, 2022 CO 6, Â¶ 16, 503 P.3d 135, 140&lt;span&gt; &lt;/span&gt;(citing &lt;span&gt;People v. Ja&lt;span&gt;&lt;/span&gt;nes&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;982 P.2d 300, 303-04 (Colo. 1999)). &lt;/div&gt;
&lt;div&gt;Â¶ 52&lt;span&gt; &lt;/span&gt;&lt;span&gt;We review all unpreserved nonstructural errors, including &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;errors in jury instructions, for plain error.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;See Hagos &lt;span&gt;v. People&lt;/span&gt;&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2012 CO 63, Â¶ 14, 288 P.3d 116, 120.  We reverse under the plain &lt;/div&gt;
&lt;div&gt;error standard of review only if the error was obvious and &lt;/div&gt;
&lt;div&gt;substantial, meaning it âso undermined the fundamental fairness of&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;the [proceeding] itself as to cast serious doubt on the relia&lt;span&gt;&lt;/span&gt;bilityâ of &lt;/div&gt;
&lt;div&gt;the outcome.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;People v. Crabtree&lt;/span&gt;, 2024 CO 40M, Â¶ 43, 550 P.3d &lt;/div&gt;
&lt;div&gt;656, 667 (quoting &lt;span&gt;Wilson v. People&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;743 &lt;span&gt;P.2&lt;span&gt;d &lt;/span&gt;&lt;/span&gt;&lt;span&gt;415&lt;/span&gt;&lt;span&gt;, &lt;span&gt;420&lt;/span&gt;&lt;/span&gt; (Colo. 1987)&lt;span&gt;).&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;2.&lt;span&gt; &lt;span&gt;Ramcharan Did Not Waive His Challenge &lt;span&gt;to&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the Instructional Error &lt;/div&gt;
&lt;div&gt;Â¶ 53&lt;span&gt; &lt;/span&gt;&lt;span&gt;As a threshold matter, the People argue that Ramcharan &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;waived his instructional error argument because defense counsel &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf18" data-page-no="18"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;22&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âagreed to the âsubstanceâ of the proposed instructions as a &lt;span&gt;&lt;/span&gt;wholeâ &lt;/div&gt;
&lt;div&gt;and &lt;span&gt;âhis objection was limited to a singular request that t&lt;span&gt;&lt;/span&gt;he word &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âwell&lt;span&gt;-&lt;/span&gt;&lt;span&gt;beingâ be removed.â  &lt;span&gt;We disagree that such actions constit&lt;span&gt;&lt;/span&gt;uted &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;a &lt;span&gt;waiver&lt;/span&gt;&lt;span&gt;. &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 54&lt;span&gt; &lt;/span&gt;&lt;span&gt;Whether a party waived an argument is a question of law that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;we review de novo.  &lt;span&gt;Richardson &lt;span&gt;v. People&lt;/span&gt;&lt;/span&gt;, 2020 CO 46, Â¶ 21, 481 &lt;/div&gt;
&lt;div&gt;P.3d 1, 5.  Waiver &lt;span&gt;is the â&lt;span&gt;intentional&lt;/span&gt;&lt;/span&gt; relinquishment of a &lt;span&gt;know&lt;span&gt;&lt;/span&gt;n&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;right or privilege.&lt;span&gt;â  &lt;span&gt;People v. Rediger&lt;/span&gt;&lt;/span&gt;, 2018 CO 32, Â¶ 39, 416 P.3d &lt;/div&gt;
&lt;div&gt;893, 902 (quoting &lt;span&gt;Depât of Health v. Donahue&lt;/span&gt;, 690 P.2d 243, 2&lt;span&gt;&lt;/span&gt;47 &lt;/div&gt;
&lt;div&gt;(Colo. 1984)).  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 55&lt;span&gt; &lt;/span&gt;&lt;span&gt;As Ramcharan asserts&lt;span&gt;, âthere is no evidence in the record that &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;[counsel] intentionally relinquished his right to have the jury &lt;/div&gt;
&lt;div&gt;correctly instructed on the definition of âknowingly,ââ even if&lt;span&gt;&lt;/span&gt; &lt;span&gt;his &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;counsel did not specifically object to that definitional instruction&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;The facts in this &lt;span&gt;case &lt;/span&gt;are similar to those in &lt;span&gt;Rediger&lt;/span&gt;, where defens&lt;span&gt;&lt;/span&gt;e &lt;/div&gt;
&lt;div&gt;counsel not only did not specifically object to the challenged &lt;/div&gt;
&lt;div&gt;instruction but &lt;span&gt;confirmed he was âsatisfied with the instructions&lt;/span&gt;&lt;span&gt;,&lt;/span&gt;&lt;span&gt;â &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and the record did not indicate that &lt;span&gt;â&lt;/span&gt;the court or the parties &lt;/div&gt;
&lt;div&gt;discussed that instruction.â  &lt;span&gt;Rediger&lt;/span&gt;&lt;span&gt;, Â¶&lt;span&gt; &lt;span&gt;10&lt;/span&gt;, 416 P.3d at 898.&lt;/span&gt;  &lt;span&gt;The &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;supreme court held that, on such &lt;span&gt;facts, there was â&lt;/span&gt;no evidence, &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf19" data-page-no="19"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;23&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;either express or implied, that Rediger intended to re&lt;span&gt;&lt;/span&gt;linquish his &lt;/div&gt;
&lt;div&gt;right&lt;span&gt;.â  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt; &lt;/span&gt;at Â¶ 42, 416 P.3d at 902.  âFor &lt;span&gt;example, the record &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;contains no evidence that Rediger considered objecting t&lt;span&gt;&lt;/span&gt;o the &lt;/div&gt;
&lt;div&gt;erroneous instruction but then, &lt;span&gt;â&lt;/span&gt;for some tactical or other reason, &lt;/div&gt;
&lt;div&gt;rejected the idea.&lt;span&gt;ââ  &lt;span&gt;Id. &lt;/span&gt;&lt;/span&gt;(citation omitted).  So, too, in this case. &lt;/div&gt;
&lt;div&gt;Â¶ 56&lt;span&gt; &lt;/span&gt;&lt;span&gt;Th&lt;span&gt;erefore&lt;span&gt;, &lt;span&gt;Ramcharan did not waive his instructional error &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;argument&lt;span&gt;. &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;3.&lt;span&gt; &lt;span&gt;The Court Erred by Providing an Instruction with an &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Incorrect Definition of &lt;span&gt;âKnowinglyâ&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 57&lt;span&gt; &lt;/span&gt;&lt;span&gt;We agree with Ramcharan that the &lt;span&gt;courtâs &lt;/span&gt;instruction &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;incorrectly defined âknowingly&lt;span&gt;.&lt;/span&gt;&lt;span&gt;â &lt;/span&gt;&lt;span&gt; (The People concede that &lt;span&gt;&lt;/span&gt;the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;instruction âdid not wholly track the statutory definition of&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;âknowinglyâ or the pattern jury instruction&lt;span&gt;.&lt;/span&gt;â) &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 58&lt;span&gt; &lt;/span&gt;&lt;span&gt;To prove both sexual assault on a child and contribu&lt;span&gt;&lt;/span&gt;ting to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the delinquency of a minor, a prosecutor must prove bey&lt;span&gt;&lt;/span&gt;ond a &lt;/div&gt;
&lt;div&gt;reasonable doubt that the defendant acted knowingl&lt;span&gt;&lt;/span&gt;y.  &lt;span&gt;See &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â§ &lt;span&gt;18&lt;/span&gt;&lt;span&gt;-3-405(1&lt;/span&gt;&lt;span&gt;) (â&lt;/span&gt;Any actor who &lt;span&gt;knowingly&lt;/span&gt; subjects another not &lt;span&gt;&lt;/span&gt;his &lt;/div&gt;
&lt;div&gt;or her spouse to any sexual contact commits sexual assault on a &lt;/div&gt;
&lt;div&gt;child if the victim is less than fifteen years of age and the acto&lt;span&gt;&lt;/span&gt;r is at &lt;/div&gt;
&lt;div&gt;least four years older than the victim.&lt;span&gt;â&lt;/span&gt;) (emphasis added); &lt;span&gt;see a&lt;span&gt;&lt;/span&gt;lso &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf1a" data-page-no="1a"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;24&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Gorman v. People&lt;span&gt;, 19 P.3d 662, 665 (Colo. 2000) &lt;span&gt;(â[T]&lt;/span&gt;he culpable &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;mental state of&lt;span&gt; knowingly&lt;/span&gt; applies to the act of contributing t&lt;span&gt;&lt;/span&gt;o the &lt;/div&gt;
&lt;div&gt;delinquency&lt;span&gt;â&lt;/span&gt;&lt;span&gt; of a minor.) (emphasis added)&lt;span&gt;.  &lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 59&lt;span&gt; &lt;/span&gt;&lt;span&gt;Section 18-1-&lt;span&gt;501(6) defines âknowinglyâ as when a person âis &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;aware that his conduct is of such nature or that such circ&lt;span&gt;&lt;/span&gt;umstance &lt;/div&gt;
&lt;div&gt;exists . . . [and] when he is aware that his conduct is practically &lt;/div&gt;
&lt;div&gt;certain to cause the result.â&lt;span&gt;  &lt;/span&gt;&lt;span&gt;See also &lt;span&gt;COLJI-Crim. F:195 (2023) &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(pattern jury instruction F:195 &lt;span&gt;defines âknowinglyâ as âwhen he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;[she] is aware that his [her] conduct is of such nature or t&lt;span&gt;&lt;/span&gt;hat such &lt;/div&gt;
&lt;div&gt;a circumstance exists . &lt;span&gt;. . &lt;/span&gt;[and] when he [she] is aware that his [her] &lt;/div&gt;
&lt;div&gt;conduct is practically certain to cause the resultâ&lt;span&gt;).&lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 60&lt;span&gt; &lt;/span&gt;&lt;span&gt;The court&lt;span&gt;âs &lt;/span&gt;definition of &lt;span&gt;âknowing&lt;/span&gt;&lt;span&gt;ly&lt;/span&gt;&lt;span&gt;,&lt;span&gt;â&lt;/span&gt;&lt;/span&gt; however, did not &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âsubstantially track the language of the statuteâ or &lt;span&gt;that of the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;pattern instruction.  &lt;span&gt;Weinreich&lt;/span&gt;, 119 P.3d at 1076.  While section &lt;/div&gt;
&lt;div&gt;18&lt;span&gt;-1-501(6) refers to &lt;span&gt;âaware[ness] that [the defendant&lt;span&gt;&lt;/span&gt;âs]&lt;span&gt; conduct is &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of such nature or that such circumstance exists,â the courtâs &lt;/div&gt;
&lt;div&gt;instruction said &lt;span&gt;that âknowing&lt;/span&gt;&lt;span&gt;ly&lt;/span&gt;&lt;span&gt;â &lt;/span&gt;referred &lt;span&gt;to âthe actorâs &lt;span&gt;genera&lt;span&gt;&lt;/span&gt;l &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;awareness of the nature of his conduct &lt;span&gt;in relation to the chi&lt;span&gt;&lt;/span&gt;ld&lt;span&gt; &lt;span&gt;or&lt;/span&gt; his &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;awareness of the circumstances &lt;span&gt;in which he commits an a&lt;span&gt;&lt;/span&gt;ct against &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the well-being of the child&lt;span&gt;.â&lt;span&gt;  &lt;span&gt;(Emphasis added.)&lt;/span&gt;  &lt;span&gt;The court added the &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf1b" data-page-no="1b"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;25&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;qualifier âgeneralâ &lt;span&gt;before &lt;/span&gt;âawarenessâ &lt;span&gt;and materially deviated from &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the statutory definition by specifying that the subject conduct &lt;span&gt;&lt;/span&gt;must &lt;/div&gt;
&lt;div&gt;be&lt;span&gt; &lt;span&gt;in relation&lt;/span&gt;&lt;span&gt; &lt;span&gt;to&lt;/span&gt;&lt;/span&gt; the child or the &lt;span&gt;defendantâs awareness of the&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;circumstances in which his act impacts the &lt;span&gt;childâs&lt;/span&gt; well-being.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;See &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;People v. Mendez&lt;span&gt;, 897 P.2d 868, 871 (Colo. App. 1995) &lt;span&gt;(â&lt;/span&gt;The &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;modification, expansion, or clarification of the definition &lt;span&gt;&lt;/span&gt;of a term &lt;/div&gt;
&lt;div&gt;defined by statute is not recommended, especially when the &lt;/div&gt;
&lt;div&gt;definitions have been approved by the supreme court for use in &lt;/div&gt;
&lt;div&gt;criminal proceedings.&lt;span&gt;â). &lt;span&gt;  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 61&lt;span&gt; &lt;/span&gt;&lt;span&gt;In addition, the &lt;span&gt;courtâs &lt;/span&gt;instruction lacked the statutory &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;language that the person is âaware that his conduct is practically &lt;/div&gt;
&lt;div&gt;certain to cause the result.â  &lt;span&gt;Â§ &lt;span&gt;18&lt;/span&gt;-1-501(6).  This is a material &lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and significant &lt;span&gt;â&lt;/span&gt; omission from the language the General Assem&lt;span&gt;&lt;/span&gt;bly &lt;/div&gt;
&lt;div&gt;chose to include in the definition&lt;span&gt;. &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 62&lt;span&gt; &lt;/span&gt;&lt;span&gt;For these reasons, the court erred by incorrectly defining &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âknowing&lt;span&gt;ly&lt;/span&gt;&lt;span&gt;â &lt;/span&gt;â&lt;span&gt; the mens rea element for both of the charged &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;offenses&lt;span&gt;. &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;4.&lt;span&gt; &lt;span&gt;The Instructional Error Was Obvious &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 63&lt;span&gt; &lt;/span&gt;&lt;span&gt;An error is obvious if it is &lt;span&gt;â&lt;/span&gt;so clear-cut&lt;span&gt;â that â&lt;/span&gt;a trial judge &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;should be able to avoid it without benefit of objection.&lt;span&gt;&lt;/span&gt;â&lt;span&gt;  &lt;/span&gt;&lt;span&gt;Crabtree&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf1c" data-page-no="1c"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;26&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 42, 550 P.3d at 667 (quoting &lt;span&gt;Romero v. People&lt;/span&gt;, 2017 CO 37, Â¶ 6, &lt;/div&gt;
&lt;div&gt;393 P.3d 973, 976).  Consequently, an error is obvious if it &lt;/div&gt;
&lt;div&gt;â&lt;span&gt;contravene[d] a clear statutory command, a well-settled legal &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;principle, or established Colorado case law.&lt;span&gt;â  &lt;span&gt;Id.&lt;/span&gt;&lt;/span&gt;  We agree wit&lt;span&gt;&lt;/span&gt;h &lt;/div&gt;
&lt;div&gt;Ramcharan that the error here was obvious. &lt;/div&gt;
&lt;div&gt;Â¶ 64&lt;span&gt; &lt;/span&gt;&lt;span&gt;First, as described in Part II.B&lt;span&gt;.3&lt;/span&gt; above, the instruction &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;contravened the clear language &lt;span&gt;of&lt;/span&gt; section 18-1-501(6).&lt;span&gt;&lt;/span&gt;   &lt;/div&gt;
&lt;div&gt;Â¶ 65&lt;span&gt; &lt;/span&gt;&lt;span&gt;Second&lt;span&gt;, as the People note, â[i]t appears that the instructionâs &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;language derived from &lt;span&gt;People v. Noble&lt;/span&gt;, 635 P.2d 203 (Colo. 19&lt;span&gt;&lt;/span&gt;81), a &lt;/div&gt;
&lt;div&gt;felony child abuse case applying a former version of the child abuse &lt;/div&gt;
&lt;div&gt;statute&lt;span&gt;.â  &lt;span&gt;But t&lt;span&gt;he&lt;/span&gt; General Assembly enacted material amendments &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;to the child abuse statutes after the supreme court decided &lt;span&gt;Nob&lt;span&gt;&lt;/span&gt;le&lt;span&gt;.  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Compare &lt;span&gt;Â§ &lt;span&gt;18&lt;/span&gt;-6-401(1), C.R.S. 1978&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;with &lt;span&gt;Â§ &lt;span&gt;18&lt;/span&gt;&lt;span&gt;-3-405(1)&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;(2)(a),&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;C.R.S. 2024&lt;span&gt;.  &lt;/span&gt;Thus, the instructional error contravened a clear &lt;/div&gt;
&lt;div&gt;statutory command and Colorado case law, and was therefore &lt;/div&gt;
&lt;div&gt;obvious&lt;span&gt;. &lt;span&gt; &lt;span&gt;See Crabtree&lt;/span&gt;&lt;/span&gt;, &lt;span&gt;Â¶ &lt;span&gt;42, 550 P.3d at 667.&lt;/span&gt;&lt;/span&gt;  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;5.&lt;span&gt; &lt;span&gt;The Instructional Error Was Not Substantial  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 66&lt;span&gt; &lt;/span&gt;&lt;span&gt;An error is substantial if, as noted above, &lt;span&gt;it â&lt;/span&gt;so undermined &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the fundamental fairness of the trial itself as to cast serious d&lt;span&gt;&lt;/span&gt;oubt &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf1d" data-page-no="1d"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;27&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;on the reliability of the judgment of conviction.â  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt; &lt;span&gt;at&lt;/span&gt;&lt;/span&gt;&lt;span&gt; &lt;span&gt;Â¶ 43&lt;span&gt;, &lt;/span&gt;550 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;P.3d at 667 (quoting &lt;span&gt;Wilson&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;743 &lt;span&gt;P.2&lt;span&gt;d &lt;span&gt;at&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; 420).&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 67&lt;span&gt; &lt;span&gt;â[A]&lt;span&gt;n erroneous jury instruction does not normally constitute &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;plain error &lt;span&gt;. . .&lt;/span&gt; where the record contains overwhelming evidence of &lt;/div&gt;
&lt;div&gt;the defendant&lt;span&gt;âs guilt.â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;&lt;span&gt;Thompson v. People&lt;/span&gt;, 2020 CO 72, Â¶ 54, 4&lt;span&gt;&lt;/span&gt;71 &lt;/div&gt;
&lt;div&gt;P.3d 1045, 1057 (quoting &lt;span&gt;People v. Miller&lt;/span&gt;, 113 P.3d 743, &lt;span&gt;750&lt;/span&gt; (Colo. &lt;/div&gt;
&lt;div&gt;2005))&lt;span&gt;; &lt;span&gt;see also Espinoza v. People&lt;span&gt;, 712 P.2d 476, 478-79 (Colo. &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;1985). &lt;/div&gt;
&lt;div&gt;Â¶ 68&lt;span&gt; &lt;/span&gt;&lt;span&gt;The People contend that the error was not substantial because &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the evidence against Ramcharan was overwhelming.  We agree.  &lt;/div&gt;
&lt;div&gt;Â¶ 69&lt;span&gt; &lt;/span&gt;&lt;span&gt;Turning first to the charge of sexual assault on a child, no &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;evidence contradicted A.M.&lt;span&gt;âs&lt;/span&gt; testimony that Ramacharan put his &lt;/div&gt;
&lt;div&gt;penis in her vagina.  Indeed, in his interview with Detective Collins, &lt;/div&gt;
&lt;div&gt;Ramcharan admitted that he &lt;span&gt;â&lt;/span&gt;started to&lt;span&gt;â&lt;/span&gt; have sex with A.M.  The &lt;/div&gt;
&lt;div&gt;jury watched the video of &lt;span&gt;Ramcharanâs interview with Detective &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Collins and the prosecutor showed the jury &lt;span&gt;a &lt;/span&gt;transcript of the &lt;/div&gt;
&lt;div&gt;interview.  &lt;/div&gt;
&lt;div&gt;Â¶ 70&lt;span&gt; &lt;/span&gt;&lt;span&gt;Furthermore, the nurse who examined A.M. following the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;alleged sexual assault testified at trial &lt;span&gt;that A.M.âs genitalia were &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;inflamed and torn, consistent with sexual activity.  Although the &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf1e" data-page-no="1e"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;28&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;nurse agreed on cross-examination that such injuries could occu&lt;span&gt;&lt;/span&gt;r &lt;/div&gt;
&lt;div&gt;through consensual sex, and Ramcharan told Detective Collins that&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;âeverything that happened [with A.M.] was completely &lt;span&gt;&lt;/span&gt;consensual,â &lt;/div&gt;
&lt;div&gt;Ramcharan could not avoid conviction by arguing that A.&lt;span&gt;&lt;/span&gt;M. &lt;span&gt;â&lt;/span&gt; &lt;span&gt;a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;fourteen-year-old girl &lt;span&gt;â&lt;/span&gt; consented to engage in sex with him&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;People v. Hodge&lt;span&gt;, 2018 COA 155, Â¶ 16, 488 P.3d 436, 43&lt;span&gt;&lt;/span&gt;9-&lt;span&gt;40 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(â[C]hild&lt;span&gt; sexual assault . . . recognizes that a child cannot legally &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;consent to sexual contact or to any conduct that facilitates that &lt;/div&gt;
&lt;div&gt;sexual contact.&lt;span&gt;â).&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 71&lt;span&gt; &lt;/span&gt;&lt;span&gt;Lastly&lt;span&gt;, &lt;span&gt;the male Y-STR profile was consistent with &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Ramcharan&lt;span&gt;âs genetic material,&lt;span&gt; &lt;/span&gt;with an expected frequency of &lt;span&gt;&lt;/span&gt;â&lt;span&gt;1 in &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2,007 individuals&lt;span&gt;.â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;&lt;span&gt;Cf. People v. Brown&lt;/span&gt;, 2014 COA 155M-2, Â¶Â¶ &lt;span&gt;7,&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;13,&lt;span&gt; 360 P.3d 167, 170-&lt;/span&gt;71&lt;span&gt; (holding there was no reve&lt;span&gt;&lt;/span&gt;rsible error &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;when an âexpert testified that certain Y&lt;span&gt;-STR profiles obtained from &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the crime scene matched defendant&lt;span&gt;â&lt;/span&gt;s profile&lt;span&gt;â&lt;/span&gt;&lt;span&gt;).&lt;/span&gt;&lt;span&gt;   &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 72&lt;span&gt; &lt;span&gt;Overwhelming evidence also supported Ramcharanâs &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;conviction for contributing to the delinquency of a minor premised &lt;/div&gt;
&lt;div&gt;on his act of forcing A.M. to smoke methamphetamine&lt;span&gt;.  &lt;/span&gt;As noted &lt;/div&gt;
&lt;div&gt;above, officers found in the jacket Ramcharan had been wearing &lt;span&gt;&lt;/span&gt;on &lt;/div&gt;
&lt;div&gt;the day of the sexual assault the white pipe that A.M. said &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf1f" data-page-no="1f"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;29&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Ramcharan forced her to smoke&lt;span&gt;, &lt;/span&gt;containing the very type of residue &lt;/div&gt;
&lt;div&gt;that A.M. had described&lt;span&gt;.  &lt;/span&gt;At trial, the prosecutor introduced into &lt;/div&gt;
&lt;div&gt;evidence a photograph of the pipe, containing residue, on top of t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;jacket and next to Ramcharanâs driverâs license.  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 73&lt;span&gt; &lt;/span&gt;&lt;span&gt;Ramcharan disagrees that the evidence against him was &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;overwhelming&lt;span&gt;.  H&lt;span&gt;e argues that his &lt;span&gt;admission that he âstarted toâ &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;have sex with A.M. was vague and could encompass conduct that &lt;/div&gt;
&lt;div&gt;did not constitute sexual assault on a child.  In addition, he &lt;/div&gt;
&lt;div&gt;challenges the &lt;span&gt;Peopleâs&lt;/span&gt; contention that the DNA analysis &lt;span&gt;â&lt;/span&gt;strongly &lt;/div&gt;
&lt;div&gt;tied&lt;span&gt;â&lt;/span&gt;&lt;span&gt; Ramcharan to the crime because an expert witness &lt;span&gt;who&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;testified for the prosecution opined that the analysis showed only &lt;/div&gt;
&lt;div&gt;that Ramcharan âcould not be excluded fromâ the profile.&lt;span&gt;  &lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 74&lt;span&gt; &lt;/span&gt;&lt;span&gt;But&lt;span&gt; Ramcharan does not demonstrate how the erroneous &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;definition of âknowinglyâ undermined&lt;span&gt; &lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt;the fundamental fairness&lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt; of&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;his trial&lt;span&gt;, &lt;/span&gt;particularly as his theory of defense was a general denial &lt;/div&gt;
&lt;div&gt;of the charges.  &lt;span&gt;Crabtree&lt;/span&gt;, Â¶ 43, 550 P.3d &lt;span&gt;at&lt;/span&gt; &lt;span&gt;667&lt;/span&gt; (quoting &lt;span&gt;Wilson&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;743 &lt;span&gt;P.2&lt;span&gt;d &lt;span&gt;at&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; 420).  Although Ramcharan conten&lt;span&gt;&lt;/span&gt;ds that the &lt;/div&gt;
&lt;div&gt;instructional error &lt;span&gt;ârelieved the prosecution of its burden of&lt;span&gt;&lt;/span&gt; proving &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;each element of each offense beyond a reasonable doubt,&lt;span&gt;â &lt;/span&gt;such &lt;/div&gt;
&lt;div&gt;argument is conclusory and does not overcome the undisputed, &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf20" data-page-no="20"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;30&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;overwhelming evidence in the record.  &lt;span&gt;See People v. Wa&lt;span&gt;&lt;/span&gt;llin&lt;span&gt;, 167 P.3d &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;183, 187 (Colo. App. 2007) (declining to address arg&lt;span&gt;&lt;/span&gt;uments &lt;/div&gt;
&lt;div&gt;presented in a perfunctory or conclusory manner). &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 75&lt;span&gt; &lt;/span&gt;&lt;span&gt;For these reasons, we hold t&lt;span&gt;hat the courtâs instructional error &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;was not plain and, therefore, does not warrant reversal&lt;span&gt;. &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;C.&lt;span&gt; &lt;span&gt;Requests for Substitute Counsel &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 76&lt;span&gt; &lt;/span&gt;&lt;span&gt;Ramcharan contends that the court reversibly erred by &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;denying his multiple requests for substitute counsel because he &lt;/div&gt;
&lt;div&gt;and his counsel had an irreconcilable conflict.  We disagree. &lt;/div&gt;
&lt;div&gt;1.&lt;span&gt; &lt;span&gt;Additional Facts &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 77&lt;span&gt; &lt;/span&gt;&lt;span&gt;A public defender initially represented Ramcharan; he was &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;later represented by alternate defense counsel.  Ramcharan aske&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;the court twice to discharge his public defender and thrice to &lt;/div&gt;
&lt;div&gt;discharge alternate defense counsel.  The court conducte&lt;span&gt;&lt;/span&gt;d five ex &lt;/div&gt;
&lt;div&gt;parte hearings across a two-year period, over which four judicial &lt;/div&gt;
&lt;div&gt;officers presided, to consider Ramcharanâs requests.&lt;span&gt;  &lt;span&gt;(A court must &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;conduct a hearing, at which both attorney and client may testify,&lt;span&gt;&lt;/span&gt; to &lt;/div&gt;
&lt;div&gt;adjudicate a defendantâs assertion that his appointed att&lt;span&gt;orney &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;cannot or will not completely represent him.  &lt;span&gt;People v. Bergerud&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;223 P.3d 686, 694-&lt;span&gt;95&lt;/span&gt; (Colo. 2010)&lt;span&gt;.)&lt;/span&gt; &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf21" data-page-no="21"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;31&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 78&lt;span&gt; &lt;/span&gt;&lt;span&gt;In his first motion for new counsel, Ramcharan complained &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that his public defender was not communicative and that t&lt;span&gt;&lt;/span&gt;here was &lt;/div&gt;
&lt;div&gt;a &lt;span&gt;â&lt;/span&gt;&lt;span&gt;lack of trust&lt;span&gt;â&lt;/span&gt; between them.  The public defender responded that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Ramcharan did not want her honest assessment of his case.  &lt;/div&gt;
&lt;div&gt;Ramcharan further asserted that he disagreed with the direction &lt;/div&gt;
&lt;div&gt;she was taking in developing a defense strategy&lt;span&gt;. &lt;/span&gt; Specifically, he &lt;/div&gt;
&lt;div&gt;told the court he wanted to pursue defenses resting on his &lt;/div&gt;
&lt;div&gt;ignorance of &lt;span&gt;A.M.âs age, &lt;/span&gt;which he attributed, in part, to &lt;span&gt;a &lt;/span&gt;recent eye &lt;/div&gt;
&lt;div&gt;injury&lt;span&gt;.  &lt;span&gt;The public defender had told him &lt;span&gt;âseveral timesâ&lt;/span&gt; that his &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;assertions would not support a defense&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 79&lt;span&gt; &lt;/span&gt;&lt;span&gt;At a &lt;span&gt;Bergerud&lt;/span&gt; hearing in November 2020, the court found t&lt;span&gt;&lt;/span&gt;hat &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;these facts did not establish a breakdown in communication &lt;/div&gt;
&lt;div&gt;between Ramcharan and his public defender.  The court explaine&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;to&lt;span&gt; Ramcharan that, &lt;span&gt;âwhether or not you agree with the way &lt;/span&gt;[your &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;lawyer] is formulating this case . . &lt;span&gt;. &lt;/span&gt;, she gets to make the decision.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(Ramcharan later apparently wanted his lawyer to argue that t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;eye injury rendered his statements to the officers involuntary&lt;span&gt;.)    &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 80&lt;span&gt; &lt;/span&gt;&lt;span&gt;Two months later, Ramcharan filed a second motion for new &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;counsel that rehashed the arguments in his first motion&lt;span&gt;. &lt;/span&gt; But &lt;/div&gt;
&lt;div&gt;following the &lt;span&gt;Bergerud &lt;/span&gt;hearing on the second motion, the court &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf22" data-page-no="22"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;32&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;found that there had been a breakdown in communication between &lt;/div&gt;
&lt;div&gt;the public defender and Ramcharan, discharged the public &lt;/div&gt;
&lt;div&gt;defender, and appointed alternate defense counsel for him.   &lt;/div&gt;
&lt;div&gt;Â¶ 81&lt;span&gt; &lt;/span&gt;&lt;span&gt;Five months later, Ramcharan moved to dismiss his new &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;counsel.  Ramcharan complained that his new lawyer, like his &lt;/div&gt;
&lt;div&gt;former lawyer, was not pursuing a defense relating to his &lt;span&gt;&lt;/span&gt;eye injury, &lt;/div&gt;
&lt;div&gt;which he said demonstrated that he &lt;span&gt;had âunknowinglyâ had se&lt;span&gt;&lt;/span&gt;x &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;with a child.  Ramcharan also told the court that his new counsel &lt;/div&gt;
&lt;div&gt;did not believe he had a defense and &lt;span&gt;âcauses doubtâ and &lt;/span&gt;trust &lt;/div&gt;
&lt;div&gt;issues, and that, as a result, &lt;span&gt;Ramcharan âdidnât want to spea&lt;span&gt;&lt;/span&gt;k to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;him.â&lt;span&gt;  &lt;span&gt;Counsel responded that, because Ramcharan was refusing to &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;speak to him, &lt;span&gt;â&lt;/span&gt;his ability to communicate with Ramcharan had &lt;/div&gt;
&lt;div&gt;deteriorated to the point that he couldn&lt;span&gt;â&lt;/span&gt;t effectively represent &lt;span&gt;him.â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Following another &lt;span&gt;Bergerud&lt;/span&gt; hearing, the court found that &lt;span&gt;â&lt;/span&gt;this &lt;span&gt;&lt;/span&gt;is &lt;/div&gt;
&lt;div&gt;largely a situation where there is a significant difference in . . . &lt;/div&gt;
&lt;div&gt;defense strategy,&lt;span&gt;â&lt;/span&gt; which is not grounds to appoint new counsel, and &lt;/div&gt;
&lt;div&gt;denied Ramcharan&lt;span&gt;â&lt;/span&gt;s request. &lt;/div&gt;
&lt;div&gt;Â¶ 82&lt;span&gt; &lt;/span&gt;&lt;span&gt;Less than two weeks later, Ramcharan again told the court &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that he and his new counsel had a complete breakdown in &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf23" data-page-no="23"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;33&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;communication and that the court should appoint a new lawyer for &lt;/div&gt;
&lt;div&gt;him.  The court conducted a fourth &lt;span&gt;Bergerud&lt;/span&gt; hearing.   &lt;/div&gt;
&lt;div&gt;Â¶ 83&lt;span&gt; &lt;/span&gt;&lt;span&gt;At the hearing&lt;span&gt;, counsel â&lt;/span&gt;conceded that he missed an &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;appointment he had scheduled with Ramcharan to get a relea&lt;span&gt;&lt;/span&gt;se for &lt;/div&gt;
&lt;div&gt;hospital records&lt;span&gt;â&lt;/span&gt; relating to the eye injury.  Ramcharan said he had &lt;/div&gt;
&lt;div&gt;lost trust in the lawyer as a consequence.  Nevertheless, the court &lt;/div&gt;
&lt;div&gt;again denied Ramcharan&lt;span&gt;â&lt;/span&gt;s request for new counsel.&lt;span&gt;  &lt;/span&gt;During the &lt;/div&gt;
&lt;div&gt;hearing, the court advised Ramcharan of his right to repre&lt;span&gt;&lt;/span&gt;sent &lt;/div&gt;
&lt;div&gt;himself.  Ramcharan said he did not want to do so.     &lt;/div&gt;
&lt;div&gt;Â¶ 84&lt;span&gt; &lt;/span&gt;&lt;span&gt;In November 2021, the court held a fifth &lt;span&gt;Bergerud&lt;/span&gt; hearing &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;after Ramcharan again requested new counsel.  Ramcharan and his &lt;/div&gt;
&lt;div&gt;counsel both told the court that their communications had br&lt;span&gt;&lt;/span&gt;oken &lt;/div&gt;
&lt;div&gt;down.  In addition, Ramcharan continued to emphasize his belief &lt;/div&gt;
&lt;div&gt;that the eye injury was critical to his defense&lt;span&gt;, &lt;span&gt;as &lt;/span&gt;&lt;/span&gt;he claimed &lt;span&gt;it&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;impacted the voluntariness of his statements to the officers&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Defense counsel told the court that he disagreed with Ramacharan &lt;/div&gt;
&lt;div&gt;regarding the relevance of the eye injury and said that Ramcha&lt;span&gt;&lt;/span&gt;ran &lt;/div&gt;
&lt;div&gt;would not accept his explanation that mistake as to the &lt;span&gt;victimâs&lt;/span&gt; age &lt;/div&gt;
&lt;div&gt;is&lt;span&gt; not a defense to &lt;span&gt;a &lt;/span&gt;sexual assault on a child charge.  The court &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;observed &lt;span&gt;that â[t]he problem for me is that no matter who tells h&lt;span&gt;&lt;/span&gt;im &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf24" data-page-no="24"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;34&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that his defense is not viable, heâs not going to believe it&lt;span&gt;&lt;/span&gt;.â  The court&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;again &lt;span&gt;denied Ramcharanâs &lt;/span&gt;request to appoint new counsel. &lt;/div&gt;
&lt;div&gt;2.&lt;span&gt; &lt;span&gt;Standard of Review and &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the Law Governing a Defendantâs Request&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;to Discharge Counsel &lt;/div&gt;
&lt;div&gt;Â¶ 85&lt;span&gt; &lt;span&gt;âA defendantâs motion to discharge an attorney is addressed t&lt;span&gt;&lt;/span&gt;o &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the sound discretion of the trial court, and its ruling &lt;span&gt;&lt;/span&gt;will not be &lt;/div&gt;
&lt;div&gt;disturbed on review absent an abuse of discretion.â  &lt;span&gt;People v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Bostic&lt;span&gt;, 148 P.3d 250, 259 (Colo. App. 2006).&lt;span&gt;  &lt;span&gt;â&lt;/span&gt;&lt;/span&gt;Before change of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;counsel is warranted the trial court must verify that the defend&lt;span&gt;&lt;/span&gt;ant &lt;/div&gt;
&lt;div&gt;has &lt;span&gt;â&lt;/span&gt;some well founded reason for believing that the &lt;span&gt;&lt;/span&gt;appointed &lt;/div&gt;
&lt;div&gt;attorney cannot or will not completely represent him.&lt;span&gt;ââ&lt;/span&gt;&lt;span&gt;  People v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Arguello&lt;span&gt;, 772 P.2d 87, 94 (Colo. 1989) (quoting 2 Wayne R.&lt;span&gt;&lt;/span&gt; LaFave &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;&amp;amp; Jerold H. Israel, &lt;span&gt;Criminal Procedure&lt;/span&gt; 37 (1984)).&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 86&lt;span&gt; &lt;span&gt;âWhen an indigent criminal defendant voices objections to &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;court-appointed counsel, the trial court must inquire int&lt;span&gt;&lt;/span&gt;o the &lt;/div&gt;
&lt;div&gt;reasons for dissatisfaction.  If the defendant establishes good c&lt;span&gt;&lt;/span&gt;ause, &lt;/div&gt;
&lt;div&gt;such as a conflict of interest or a complete breakdown&lt;span&gt;&lt;/span&gt; of &lt;/div&gt;
&lt;div&gt;commun&lt;span&gt;ication, the court must appoint substitute counsel.â  &lt;span&gt;Peop&lt;span&gt;&lt;/span&gt;le &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;v. Apodaca&lt;span&gt;, 998 P.2d 25, 28 (Colo. App. 1999).  &lt;span&gt;&lt;/span&gt;âConversely, if the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;court has a reasonable basis for concluding that the att&lt;span&gt;&lt;/span&gt;orney-client &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf25" data-page-no="25"&gt;
&lt;div&gt;
&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;35&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;relationship has not deteriorated to the point where &lt;span&gt;&lt;/span&gt;counsel is &lt;/div&gt;
&lt;div&gt;unable to give effective assistance, the court is justified in ref&lt;span&gt;&lt;/span&gt;using &lt;/div&gt;
&lt;div&gt;to appoint new counsel.â  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt;  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;3.&lt;span&gt; &lt;span&gt;The Court Did Not Abuse Its Discretion &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;by Denying Ramcharanâs Requests for New Counsel&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 87&lt;span&gt; &lt;/span&gt;&lt;span&gt;The transcripts of the five &lt;span&gt;Bergerud&lt;/span&gt; hearings demonstrate that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the court did not abuse its discretion by rejecting all but one of &lt;/div&gt;
&lt;div&gt;Ramcharan&lt;span&gt;âs &lt;span&gt;requests to discharge his lawyer and appoint new &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;counsel for him.&lt;span&gt;  &lt;/span&gt;Rather, the record underscores that the court &lt;/div&gt;
&lt;div&gt;correctly found that the difficulty in the communications between &lt;/div&gt;
&lt;div&gt;Ramcharan and his lawyers primarily rested on their disagreements &lt;/div&gt;
&lt;div&gt;regarding the &lt;span&gt;relevance of Ramcharanâs eye injury.  As the cou&lt;span&gt;&lt;/span&gt;rt &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;noted, case strategy is a matter left to counsel.  &lt;span&gt;Bergerud&lt;/span&gt;, 223 P.3&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;at 693 &lt;span&gt;(âOn issues of trial strategy, defense counsel is â&lt;/span&gt;captain of &lt;/div&gt;
&lt;div&gt;the ship.&lt;span&gt;ââ&lt;/span&gt; (quoting &lt;span&gt;Arko v. People&lt;/span&gt;, 183 P.3d 555, 558 (Colo. &lt;span&gt;&lt;/span&gt;2008))). &lt;/div&gt;
&lt;div&gt;Â¶ 88&lt;span&gt; &lt;/span&gt;&lt;span&gt;Further, because a &lt;span&gt;â&lt;/span&gt;source of limitations on an attorney&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;actions is that these decisions of trial strategy are held to a &lt;/div&gt;
&lt;div&gt;standard of professional reasonableness&lt;span&gt;,â &lt;span&gt;id.&lt;/span&gt;&lt;/span&gt; at 694, the court &lt;/div&gt;
&lt;div&gt;correctly found &lt;span&gt;that Ramcharanâs &lt;/span&gt;lawyers did not pursue &lt;/div&gt;
&lt;/div&gt;
&lt;a href="https://1.next.westlaw.com/Link/Document/FullText?findType=Y&amp;amp;serNum=2015993001&amp;amp;pubNum=0004645&amp;amp;originatingDoc=I17b6bbbffeb911dea7e0c40c26bf1b92&amp;amp;refType=RP&amp;amp;fi=co_pp_sp_4645_558&amp;amp;originationContext=document&amp;amp;transitionType=DocumentItem&amp;amp;ppcid=24c3964b373540b68289cd5f048aa9ce&amp;amp;contextData=(sc.DocLink)#co_pp_sp_4645_558"&gt;&lt;div style="border-style:none;position:absolute;left:260.130000px;bottom:314.077778px;width:321.730000px;height:32.890000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf26" data-page-no="26"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;36&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Ramcharanâs desired strategy&lt;span&gt; regarding the eye injury because &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;such strategy could not support a valid defense.  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 89&lt;span&gt; &lt;/span&gt;&lt;span&gt;Because the purported conflict primarily arose from &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Ramcharanâs mistaken belief that he could &lt;span&gt;dictate the legal strategy &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;his lawyers pursued and his resulting refusal to cooperate with &lt;/div&gt;
&lt;div&gt;them, there was no basis for appointment of new counsel&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;People v. Kelling&lt;span&gt;, 151 P.3d 650, 653 (Colo. App. 200&lt;span&gt;&lt;/span&gt;6) &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(â&lt;span&gt;Disagreements pertaining to matters of trial preparation, strategy, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and tactics do not establish good cause for substitut&lt;span&gt;&lt;/span&gt;ion of &lt;/div&gt;
&lt;div&gt;counsel&lt;span&gt;.â); &lt;span&gt;s&lt;span&gt;ee&lt;/span&gt;&lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;span&gt;also People v. Hodges&lt;span&gt;, 134 P.3d 419, 425 (C&lt;span&gt;&lt;/span&gt;olo. App. &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2005) &lt;span&gt;(â&lt;/span&gt;Neither the existence of animosity between defendant an&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;[the lawyer] nor &lt;span&gt;[the lawyerâs]&lt;/span&gt; asserted disagreement with defendant &lt;/div&gt;
&lt;div&gt;regarding the strength of defendant&lt;span&gt;â&lt;/span&gt;s case constitutes an actual &lt;/div&gt;
&lt;div&gt;conflict of interest requiring the appointment of substit&lt;span&gt;&lt;/span&gt;ute &lt;/div&gt;
&lt;div&gt;counsel.&lt;span&gt;â)&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;&lt;span&gt;aff&lt;span&gt;â&lt;/span&gt;&lt;span&gt;d on other grounds&lt;span&gt;, 158 P.3d 922 (Colo. 200&lt;span&gt;&lt;/span&gt;7)&lt;span&gt;.  &lt;/span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 90&lt;span&gt; &lt;/span&gt;&lt;span&gt;For these reasons, we hold that the court did not abuse its &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;discretion by denying Ramcharanâs requests that the court &lt;/div&gt;
&lt;div&gt;discharge his lawyers and appoint new counsel for him. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf27" data-page-no="27"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;37&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;III.&lt;span&gt; &lt;span&gt;Disposition &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 91&lt;span&gt; &lt;/span&gt;&lt;span&gt;The judgment of conviction is affirmed. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;JUDGE SCHUTZ and JUSTICE MARTINEZ concur. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
